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                                       EXPERT REPORT OF
                                  Laura M. Plunkett, Ph.D., DABT
                                           October 14, 2016


   I.     Training and Qualifications
          1.      I am a pharmacologist, toxicologist, United States Food and Drug Administration
   (FDA) regulatory specialist and principal of a consulting company known as Integrative
   Biostrategies, LLC. Integrative Biostrategies, based in Houston, Texas, is a consulting firm that
   works at the interface of biological science, regulatory affairs and business decisions to provide
   its clients with science-based solutions to issues associated with product development and
   stewardship. Before joining Integrative Biostrategies in 2001, I was head of the consulting firm
   known as Plunkett & Associates. Attached as Appendix A is a copy of my curriculum vitae.


          2.      I am board-certified as a Diplomate of the American Board of Toxicology. I am a
   member of several professional organizations and have authored or co-authored numerous
   scientific publications. I have over 20 years of experience in the areas of pharmacology and
   toxicology and have worked in both government and academic research. I have taught
   pharmacology and toxicology at the undergraduate and postgraduate levels.


          3.      I received a B.S. degree in 1980 from the University of Georgia and a Ph.D. in
   pharmacology from the University of Georgia, College of Pharmacy in 1984. My doctoral
   research was focused in the area of cardiovascular pharmacology, and specifically dealt with
   delineating neurochemical mechanisms responsible for the cardiac toxicity of digitalis
   glycosides. My training required my understanding of the mechanisms of action and basic
   pharmacology of drugs from all classes, including drugs used in cardiovascular diseases to
   prevent clotting.


          4.      From June 1984 through August 1986, I was a Pharmacology Research Associate
   Training (PRAT) fellow at the National Institute of General Medical Sciences, Bethesda,
   Maryland. I worked in a neurosciences laboratory of the National Institute of Mental Health. My




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   research focused on the role of various brain neurochemical systems involved in the control of
   autonomic nervous system and cardiovascular function.


             5.   From September 1986 to June 1989, I was an Assistant Professor of
   Pharmacology and Toxicology in the medical school at the University of Arkansas for Medical
   Sciences, Little Rock, Arkansas, where I performed basic research in the areas of
   neuropharmacology and toxicology as well as cardiovascular pharmacology and toxicology. I
   taught courses for both medical students and graduate students in pharmacology and toxicology
   as well as the neurosciences. As a pharmacologist, my work was directed towards understanding
   the biologic mechanisms of drug actions. As part of the medical school training we provided,
   drugs used to affect clotting mechanisms were discussed in lectures.


             6.   From December 1989 to August 1997, I worked for ENVIRON Corporation, first
   in the Arlington, Virginia office and then in the Houston, Texas office. I worked specifically
   within the health sciences group and most of my projects dealt with issues surrounding products
   or processes regulated by the FDA. During my consulting career (ENVIRON, Plunkett &
   Associates, and Integrative Biostrategies), I have worked on a variety of projects dealing with the
   regulation of products by the FDA, including human drugs (both prescription and over-the-
   counter drugs), veterinary drugs, biologics, medical devices, consumer products, dietary
   supplements and foods. I have advised my clients on regulatory issues and strategies for their
   products, designed preclinical and clinical studies for both efficacy and safety, advised clients on
   issues related to statements regarding efficacy and warnings for their products based on the
   current labeling regulations, and generally acted as a regulatory affairs staff for small companies
   in early stages of product development. Among the clients that I have consulted with have been
   many drug manufacturers, both large and small companies. A tool common to all my work as a
   consultant would be risk assessment, including many projects where risks and benefits of human
   therapeutics were at issue. Also as part of my work in the area of risk assessment, I commonly
   review and rely on epidemiology data as well as animal data in order to assess risks to human
   health.




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          7.      With respect to my experience that is directly relevant to the issues in this case, I
   have done a great deal of work on projects related to regulation of human prescription drug
   products. As a pharmacologist, much of my consulting work has related to understanding and
   explaining the mechanisms of action of drugs of all types, as well as the toxic effects of drugs. I
   have specific expertise in cardiovascular pharmacology, which is the study of drugs used to treat
   cardiovascular diseases, including atrial fibrillation. I also have expertise in pharmacokinetics,
   where I have designed clinical trials and analyzed pharmacokinetic data. I have taught
   pharmacology to medical students, including specific lectures dealing with drugs used to treat
   cardiovascular diseases. I have lectured to graduate students, law students and pharmacy students
   on FDA regulations as they apply to human drug products, including lectures that have covered
   the human drug approval process, labeling of human drugs, both OTC and prescription products,
   and postmarket reporting requirements for drug manufacturers. Throughout my career, I have
   published dozens of peer-reviewed articles, which are listed in my curriculum vitae (Appendix
   A). I have authored a book chapter on FDA pharmacovigilance practices. I have served as a peer-
   reviewer for medical journals in my capacity as a pharmacologist and toxicologist. In litigation I
   have provided expert testimony and been qualified by both state and federal courts in the areas of
   pharmacology, pharmacokinetics, toxicology, risk assessment and FDA regulations. A list of my
   previous testimony for the past four years is included as Appendix B and fee schedule is included
   as Appendix C.


   II.    Information Reviewed
          8.      During the course of work on this case, I have reviewed the following materials:
                  a) scientific literature relating to the pharmacology and toxicology of rivaroxaban
   (Xarelto®);
                  b) labeling for Xarelto;
                  c) the Food, Drug and Cosmetic Act (FDCA) and regulations of the U.S. Food
   and Drug Administration (FDA) relating to the development, approval, labelling and marketing
   of human prescription drug products, including court interpretations of the FDA regulations; and
                  d) documents produced during the litigation that are, for example, internal
   company documents, adverse event reports, FDA documents relating to Xarelto’s regulatory
   submissions, or documents found on public sites.



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            It should be noted that all of the sources listed above are ones commonly used in my
   work as a pharmacologist, toxicologist, and risk assessor, including internal company documents
   that often outline what was known by a manufacturer concerning their drug product as well as
   outlining company policies that relate to human drug development in the United States. I have
   formed opinions in this case using standard methods that I apply in all of my work as a
   pharmacologist and toxicologist that is related to assessing the risks and benefits of therapeutic
   products, both litigation and non-litigation projects. These methods include reviewing available
   scientific literature and data describing the effects of a drug on living organisms, tissues and
   cells, and then using weight-of-the-evidence methodology to analyze the information. I was
   trained in the use of these methods as part of my undergraduate, graduate, and postdoctoral work
   in pharmacology and toxicology, as well as while working as a consultant in human health risk
   assessment. Weight-of-the-evidence methodology is used as part of regulatory decision making
   by many bodies including the FDA 1. At the end of this report is attached a list of the published
   medical articles cited throughout this report. Attached to this report as Appendix D is a complete
   list of all materials that I have reviewed and relied upon in forming my opinions in this case. All
   of the opinions expressed in this report are based on a reasonable degree of scientific certainty.


   III.     Summary of Opinions
            9.       The following is a brief summary of the opinions I have formed in this case based
   on my training and experience as a pharmacologist, toxicologist and FDA regulatory specialist.
   All opinions expressed in this report are based on a reasonable degree of scientific certainty. I
   reserve the right to supplement my opinions as new information becomes available.


                 x   Xarelto has a “narrow therapeutic index”, or margin of safety, where narrow
                     therapeutic index means that there is a small difference in the dose of Xarelto that
                     produces therapeutic effects and the dose associated with an increased risk of
                     toxicity (i.e., major bleeding events in the case of Xarelto).


   1
     e.g., http://www.fda.gov/downloads/Drugs/GuidanceComplianceRegulatoryInformation/Guidances/ucm079257.pdf;
   http://www.fda.gov/downloads/drugs/guidancecomplianceregulatoryinformation/guidances/ucm074916.pdf;
   http://www.fda.gov/downloads/drugs/guidancecomplianceregulatoryinformation/guidances/ucm079240.pdf




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            x   Xarelto does not have a highly predictable pharmacokinetic-pharmacodynamic
                (PK/PD) profile, contrary to the position advanced by the manufacturer, Janssen
                Pharmaceuticals (hereafter refer to as Janssen). Patients taking Xarelto exhibit a
                high degree of inter-individual variability in various pharmacokinetic parameters.
                It is well established that differences among humans in the way that a drug is
                absorbed, distributed, metabolized and/or eliminated (i.e., pharmacokinetics) can
                have important effects that impact the efficacy and safety profiles of a drug.
                Differences in drug absorption, distribution, metabolism and elimination among
                individuals can be attributed to a variety of host factors that include, but are not
                limited to, gender, age, genetics, body weight and/or ratios of fat to lean body
                mass, underlying disease state, use of concomitant drugs, liver and/or kidney
                function, and diet.

            x   Because of Xarelto’s pharmacokinetic profile, it is not possible to reliably predict
                blood levels that will be achieved for individual patients dosed with Xarelto based
                solely on knowledge of the dose level administered. The large amount of inter-
                individual variability in Xarelto’s pharmacokinetics impacts the efficacy of the
                drug as well as the safety of the drug.

            x   As a result of Xarelto’s pharmacokinetic profile, where there may be increased
                inter-individual variability in rivaroxaban blood levels in certain individuals,
                patients may exhibit higher rivaroxaban blood levels than expected for any given
                Xarelto dose. The high level of inter-individual variability in rivaroxaban blood
                levels has been shown to be clinically relevant. Additionally, the level of inter-
                individual variability in rivaroxaban blood levels exceeds the level observed with
                some other anti-coagulants.

            x   The pivotal clinical study (known as ROCKET) performed to support Xarelto’s
                New Drug Application and the indication sought, to reduce the risk of stroke and
                systemic embolism in patients with non-valvular atrial fibrillation, suffered from
                some important limitations that were identified by FDA. An important limitation
                was the lack of adequate information in the population of patients with atrial



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                    fibrillation for dose selection in ROCKET. As FDA noted, there was no basis for
                    choosing the 20 mg dose that was tested and also no basis for administering the
                    dose only once a day. Instead of approaching the study and dose selection based
                    on sound scientific principles, Janssen 2 chose to test only one dose in ROCKET
                    and to administer that dose once a day. Without testing more than one dose in this
                    new population of patients, Janssen failed to collect critical data that would guide
                    physicians in understanding what the lowest effective dose would be that is also
                    associated with less risk of serious adverse events, such as stroke and major
                    bleeding.

                x   A program of measuring rivaroxaban blood levels or effect in patients is
                    consistent with general principles of pharmacology and toxicology as a way to
                    ensure that patients are receiving appropriate, non-toxic doses of Xarelto, doses
                    that are both safe and effective. Additionally, in the case of Xarelto, other blood
                    monitoring tests had also been shown to be predictive of the major safety concern
                    for the drug, major bleeding episodes. Therefore, exposure assessment for Xarelto
                    was possible for the drug before it was first marketed.

                x   Janssen marketed Xarelto as having an advantage over other anti-coagulant agents
                    because no monitoring is required. Yet, Janssen was aware of the high level of
                    inter-individual variability in Xarelto’s pharmacokinetics. A high level of inter-
                    individual variability in a drug’s pharmacokinetics and a narrow margin of safety
                    would dictate that exposure assessment would be an important patient safety tool.

                x   Janssen’s position that patients on Xarelto therapy do not need to have their
                    coagulation state assessed is not supported by available data. Xarelto clinical data
                    has established that coagulation tests could be reliably used to identify patients at
                    risk of major bleeding events.




   2
    Note that “Janssen”, “Bayer”, “Defendant(s)”, and/or “Sponsor(s),” as mentioned throughout the report, refer
   collectively to Bayer Healthcare Pharmaceuticals, Inc, Bayer Pharma AG, Bayer Corporation, Bayer Healthcare
   LLC, Bayer Healthcare AG, and Bayer AG (“Bayer Defendants”), as well as Janssen Research & Development
   LLC, Janssen Ortho LLC, Jansen Pharmaceuticals Inc., Johnson & Johnson (“Janssen Defendants”).


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            x   Janssen chose not to inform physicians and their patients of the role that exposure
                assessment could play in identifying patients at risk of bleeding events,
                information that could lead to patients receiving Xarelto doses that would be both
                effective and safe. Janssen’s decision not to inform physicians and their patients
                about the utility of exposure assessment put patients’ health at risk.

            x   In contrast to warfarin, Xarelto was marketed without providing physicians with
                any guidance concerning exposure assessment, and, even more importantly,
                without providing physicians with an antidote agent that could be used in patients
                that experience bleeding events while on Xarelto therapy. As a result, as
                compared to warfarin, Xarelto poses a greater risk to patient health.

            x   Exposure assessment at the initiation of Xarelto therapy would be appropriate and
                protective of patient health, an issue that FDA had identified during its review of
                the Xarelto New Drug Application (NDA). Such assessment would identify those
                patients at an increased risk of bleeding events. Available evidence demonstrates
                that exposure assessment is of critical importance for all patients, but, in
                particular, in susceptible patient subpopulations.

            x   Janssen failed to adequately define the safety profile of Xarelto, and the Xarelto
                labeling failed to provide physicians with important safety information that would
                allow them to understand and reduce the actual risks to patients.

            x   Consistent with the FDA regulations pertaining to the duty of the manufacturer,
                the labeling for Xarelto is inadequate in several ways. First, the label does not
                adequately describe the high level of inter-individual (inter-patient) variability in
                both pharmacokinetics and pharmacodynamics that are characteristic of Xarelto
                use. Second, the label does not adequately describe that the pharmacodynamics
                measurement tool, prothrombin time, is linearly correlated with rivaroxaban blood
                levels and can be used as a surrogate marker for drug blood level. Finally, the
                label does not adequately describe that Xarelto clinical trial data (ROCKET)
                demonstrated a predictable exposure-response relationship between prothrombin
                time/ and major bleeding, an important safety issue for patients taking Xarelto.


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                  The product labeling is not only inadequate in its inaccurate, incomplete
                  description of Xarelto’s exposure-response relationships, but also in turn places
                  patient health at unnecessary risk because physicians and their patients rely on
                  drug manufacturers to provide full and adequate labeling.

   IV.    Pharmacology and Toxicology of Xarelto
          10.     Xarelto is a member of a class of drugs known as anti-coagulants.              Anti-
   coagulants are drugs that control the fluidity of blood. The mechanisms that control blood
   fluidity are complex and involve maintaining the balance between systems that initiate blood
   clotting and systems that control fibrinolysis, or the breakdown of blood clots. The balance
   between clotting and fibrinolysis prevents thrombosis, or the lack of blood flow, and
   hemorrhage, or uncontrolled blood flow. Blood thrombi are composed of an aggregation of
   platelets, fibrin and red blood cells trapped within the thrombosis. As a result, drugs developed to
   prevent thrombi formation have included drugs that are anti-platelet agents, anti-coagulants, and
   fibrinolytic agents. Anti-platelet drugs are ones that inhibit platelet aggregation and include
   agents such as aspirin. Fibrinolytic agents degrade fibrin and include drugs such as streptokinase
   and plasminogen. Anti-coagulants, the class of drugs that includes Xarelto, inhibit the formation
   of fibrin. Other well-known anticoagulant drugs include heparin and warfarin. Due to the
   complexity associated with maintaining a balance between clotting and bleeding in individuals
   treated with anticoagulants, the drugs as a class have a narrow therapeutic index (Wright et al.
   2013; Duffull, S.B., 2012).


          11.     Focusing on anti-coagulants as a class, there are a variety of drugs that target
   different points in the blood clotting cascade that involves fibrin formation. Reviews of the
   mechanism of action of anti-coagulant drugs can be found in textbooks of pharmacology and
   human physiology and disease (e.g., Majerus and Tollefsen. 2006. In: Goodman & Gilman’s The
   Pharmacological Basis of Therapeutics, 12th edition. 2013. Brunton et al. (eds.). McGraw-Hill:
   New York. Chapter 54; Weitz, J.L. 2006. In: Goodman & Gilman’s The Pharmacological Basis
   of Therapeutics, 11th edition. Brunton et al. (eds.) McGraw-Hill: New York. Chapter 30;
   Marchlinski, F. 2013. In: Harrison’s Principles of Internal Medicine, online edition. Chapter
   233). Since anti-coagulants are drugs that affect blood coagulation processes, it is useful to
   review the basic mechanisms that have been defined to date.


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            12.    Injury to a blood vessel initiates coagulation. Injury can be a cut or tear in a blood
   vessel wall or injury due to shear forces introduced to blood vessels by disease processes such as
   hypertension or other diseases that affect blood flow (e.g., atrial fibrillation). The coagulation
   process begins when platelets accumulate at the injury site and adhere to macromolecules in the
   subendothelial regions of the injured blood vessel. Platelets then become activated and release
   chemical mediators that activate nearby platelets and recruit those cells to the site of injury. In
   addition to triggering platelet adhesion and activation, injury to blood vessel walls exposes tissue
   factor, which then initiates other parts of the coagulation process. Platelets continue to support
   and enhance activation of the coagulation system by providing a surface for clotting factors to
   gather (tissue factor and factor VII), as well as by releasing stored clotting factors (i.e., factors IX
   and VIII). The interaction of platelets with tissue leads to generation of thrombin (factor IIa)
   from prothrombin (factor II). Thrombin converts fibrinogen to fibrin, which reinforces the
   platelet aggregation and anchors the clot to the blood vessel wall. Other factors involved in
   coagulation include factors V and X. Detailed depictions of the clotting process in humans are
   available and provide further evidence for the complexity of the system (e.g., Duffull, S.B.,
   2012).


            13.    In addition to the coagulation pathways that operate in blood and tissues, there are
   a series of anti-coagulant pathways that normally operate to prevent thrombosis, or to limit blood
   clotting to the site of local injury. Endothelial cells produce nitric oxide and prostacyclin, for
   example, which inhibit platelet binding, secretion and activation. Endothelial cells also produce
   a variety of anti-coagulant factors such as heparan sulfate proteoglycans, antithrombin, TF
   pathway inhibitor, and thrombomodulin. Finally, endothelial cells produce fibrinolytic agents
   such as tissue plasminogen activator 1, urokinase, plasminogen activator inhibitor, and annexin-
   2. A plasma protein involved in the process of preventing clot formation is protein C, which
   down-regulates thrombin generation. Another factor, tissue factor pathway inhibitor, is a natural
   anticoagulant found in plasma that also regulates thrombin generation.


            14.    There are two basic groups of therapeutic anti-coagulants, parenteral drugs and
   oral drugs. Heparin is the parenteral agent used routinely in the hospital setting. Heparin is a



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   glycosaminoglycan that occurs naturally in secretory granules of mast cells. It is a polymer
   synthesized from alternating D-glucuronic acid and N-acetyl-D-glucosamine residues that are
   attached to a core protein to lead to formation of a proteoglycan; the proteoglycan then
   undergoes a series of modifications to result in formation of smaller glycosaminoglycan chains
   of from 5 to 30 kDa fragments. Despite the heterogeneity that exists among commercial heparin
   preparations, they have similar biological activity. Heparin produces its pharmacological effects
   by binding to antithrombin and accelerating the rate at which antithrombin inhibits coagulation
   proteases. Antithrombin circulates in plasma and inhibits activated coagulation factors such as
   factor IXa, factor VIIIa, factor Xa, factor Va, and factor IIa. Antithrombin has little activity to
   inhibit factor VIIa. Due to its rapid onset of action, heparin is routinely used as an initial
   anticoagulation agent in combination with oral anticoagulation agents. Because it is not absorbed
   orally, heparin is given parenterally (i.e., intravenous or subcutaneous injection)


          15.     Warfarin was the first marketed oral anti-coagulant agent. It is a synthetic agent
   developed based on the biological effects of bishydroxycoumarin (dicoumarol), a naturally
   occurring compound found in spoiled sweet clover grain. Warfarin was first marketed as a
   rodenticide in the 1930’s, and then as a human drug starting in the late 1940’s. Warfarin is
   approved for use in the prophylaxis and treatment of thromboembolic disorders (venous and
   pulmonary) and embolic complications arising from atrial fibrillation or cardiac valve
   replacement, as well as an adjunct treatment to reduce the risk of systemic embolism after
   myocardial infarction. Warfarin is a vitamin K antagonist. Vitamin K is a critical factor in the
   synthesis of coagulation factors II, VII, IX and X in liver. At therapeutic doses, warfarin reduces
   the amount of vitamin K-dependent coagulation factor synthesis and also results in under-
   carboxylation of secreted factor molecules. The net effect is a reduction in coagulation factor
   activity to only 10 to 40% of normal. Warfarin is well absorbed after oral dosing. It is
   metabolized by the liver, primarily by CYP2C9, with some metabolism through CYP2C8,
   CYP2C18, CYP2C19, CYP1A2, and CYP3A4. Warfarin is excreted primarily in the urine as
   inactive metabolites.


          16.     The drug at issue in this case is Xarelto, the trade name for rivaroxaban, which
   carries the chemical name 5-chloro-N-({(5S)-2-oxo-3-[4-(3-oxo-4-morpholinyl)phenyl]-1,3-



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   oxazolidin-5yl}methyl)-2-thiophenecarboxamide. Xarelto is an oral anti-coagulant drug first
   approved for use in the United States in July 2011 under NDA 022406. The first FDA approval
   was for a 10 mg immediate release tablet and the indication was for “the prophylaxis of deep
   vein thrombosis and pulmonary embolism in patients undergoing hip replacement surgery or
   knee replacement surgery”. The second FDA approval was in November 2011 under NDA
   202439. This second Xarelto NDA covered 15 and 20 mg tablets and the approved indication
   was for use of Xarelto “to reduce the risk of stroke and systemic embolism in patients with
   nonvalvular atrial fibrillation”. In November 2012, Xarelto received FDA approval for a third
   indication for prophylaxis of deep vein thrombosis or pulmonary embolism. Xarelto is
   manufactured and marketed by Janssen Pharmaceuticals, hereafter referred to simply as Janssen.
   The pharmacological activity of Xarelto is discussed in textbooks and in the product labeling
   (e.g., Majerus and Tollefson. 2013. In: Goodman & Gilman’s The Pharmacological Basis of
   Therapeutics, 12th edition.     Brunton et al. (eds.). McGraw-Hill: New York. Chapter 54;
   Physician’s Desk Reference 2012 through 2016).


          17.     Rivaroxaban is the active ingredient in Xarelto tablets. The drug inhibits Factor
   Xa. Factor Xa is a component of the blood coagulation cascade and is involved in the rate-
   limiting step in thrombin generation (Mann et al. 1988). Factor Xa converts prothrombin to
   thrombin by cleaving two peptide bonds on the prothrombin molecule. In preclinical studies (in
   vitro and in vivo) rivaroxaban was shown to exhibit dose-dependent inhibition of Factor Xa and
   to prolong clotting tests such as prothrombin time (PT) and activated partial thromboplastin time
   (aPTT) (Perzborn et al. 2005). The toxicological profile of Xarelto also has been reviewed in
   peer-reviewed publications, as well as in the labeling for the drug and in other publicly available
   documents (e.g., Ufer, M. 2010; Mega et al. 2013; Stevenson et al. 2014; FDA Pharmacology
   Review of NDA 202439 dated February 2011; Physician’s Desk Reference 2011 through 2016).
   Xarelto has a “narrow therapeutic index” (Powell, J.R. 2015; Chang et al. 2016; FDA Summary
   Review, November 4, 2011). Narrow therapeutic index means that there is a small difference in
   the dose of the drug that produces therapeutic effects and the dose associated with an increased
   risk of toxicity (i.e., major bleeding events in the case of Xarelto). Bleeding is the major toxicity
   associated with use of oral anti-coagulants, including Xarelto, and is the result of exaggerated
   pharmacological activity. Thus, the risk of bleeding increases when the internal exposure to the



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   drug increases. Internal exposure, or blood level, is an important consideration given the inherent
   variability in Xarelto’s pharmacokinetics that can lead to very different blood levels of the drug
   when the same dose is administered to different patients. The risk of bleeding with Xarelto use,
   as with any oral anti-coagulant drug, increases with use of other medications that interfere with
   hemostasis. This is because the resulting pharmacological activity of concomitant medication use
   can produce additive effects on the end result, decreased clotting.


          18.     Before discussing specific opinions, it is important to review some of the basic
   concepts of pharmacokinetics that relate to patient safety. Pharmacokinetics is the study of the
   absorption, distribution, metabolism and elimination of a drug. Although pharmacokinetic
   studies in common laboratory species such as rats, mice and dogs are often performed during
   drug development, there are species differences in certain aspects of physiology such that
   pharmacokinetic studies in humans are a routine part of drug development.


          19.     It is a general principle of pharmacology and toxicology that as the dose of a drug
   increases, so does the likelihood that the drug will produce both the desired pharmacological
   effects and the undesired adverse effects (i.e., dose-response; Eaton, D.L. and S.G. Gilbert. 2013.
   In: Casarett & Doull’s Toxicology: The Basic Science of Poisons, 8th edition. Klaassen, C.D.
   (ed.) McGraw Hill: New York. Chapter 2, pp.13-48). Another general principle of pharmacology
   and toxicology is that for most drugs, levels of a drug in blood can be identified that, when
   measured, represent both effective doses of a drug and toxic doses of a drug (Buxton, I.L.O.
   2006. In: Goodman & Gilman’s The Pharmacological Basis of Therapeutics, 11th edition.
   Brunton et al. (eds.) McGraw-Hill: New York. Chapter 1, pp. 12). Thus, the internal dose, or
   blood level of a drug, is typically measured and used as an indicator of both drug efficacy and
   drug safety. This relationship is sometimes referred to as an “exposure-response” relationship,
   where the blood level of the drug is a measure of exposure.


          20.     It also is well established that differences among humans in the way that a drug is
   absorbed, distributed, metabolized and/or eliminated (i.e., pharmacokinetics) can have important
   effects that impact the efficacy and safety profiles of a drug (Buxton, I.L.O. 2006. In: Goodman
   & Gilman’s The Pharmacological Basis of Therapeutics, 11th edition. Brunton et al. (eds.)



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   McGraw-Hill: New York. Chapter 1, pp. 1-39). Differences in drug absorption, distribution,
   metabolism and elimination among individuals can be attributed to a variety of host factors that
   include, but are not limited to, gender, age, genetics, body weight and/or ratios of fat to lean
   body mass, underlying disease state, use of concomitant drugs, liver and/or kidney function, and
   diet.


           21.    Examples of the impact of genetics on pharmacokinetics of drugs includes genetic
   variations (e.g., polymorphisms) that have been shown to exist in the activity of drug
   metabolizing enzymes, wherein the polymorphism alters the activity of these enzymes and the
   capacity of certain individuals to metabolize drugs (Relling, M.V. and K.M. Giacomini. 2006. In:
   Goodman & Gilman’s The Pharmacological Basis of Therapeutics, 11th edition. Brunton et al.
   (eds.) McGraw-Hill: New York. Chapter 4, pp. 93-115). In the case of Xarelto, the fact that the
   drug is metabolized by the liver cytochrome P450 (CYP) enzymes indicates that genetic
   polymorphisms in any of these enzymes would affect the metabolic rate for the drug (Lynch and
   Price, 2007), which in turn could lead to individuals exhibiting higher than expected blood levels
   of rivaroxaban.


           22.    In general, inter-individual differences in host factors can have clinically
   significant effects on the pharmacokinetics of a drug, which in turn can lead to differences in the
   pharmacologic and toxicologic responses to a drug in individuals within the general human
   population. The pharmacokinetic differences among individuals can be considered separately
   from pharmacodynamic differences that also exist among individuals, where pharmacodynamics
   is defined as the mechanisms underlying the actions a drug has in the human body.


           23.    As a result of the known inter-individual differences that can exist in drug
   pharmacokinetics (Rowland, M. and T.N. Tozer. 2011. Clinical Pharmacokinetics and
   Pharmacodynamics: Concepts and Applications, 4th edition. Wolters Kluwer: Philadelphia), as
   well as drug pharmacodynamics, clinical studies used to support human drug development
   attempt to reduce variability among individuals by controlling for certain host factors in the
   different study groups. For example, test groups in a clinical trial will attempt to study the same
   number of men as women in each arm of a treatment group in order to control for any effect of



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   gender. Additionally, certain individuals may be excluded from a clinical study in order to
   reduce the variability in the population response to the drug. The term used to describe the
   characteristics of individuals that are not enrolled in a clinical study is sometimes referred to as
   “exclusion criteria”. Examples of commonly used exclusion criteria include reduced levels of
   kidney or liver function, age (elderly), certain body weight ranges, and use of certain
   concomitant medications. Because study population characteristics in a clinical trial are
   controlled in order to reduce inter-individual variability as much as possible, it is anticipated that
   when a drug is then marketed in the general population the efficacy and safety profile of the drug
   may appear different. As a result, data collected in clinical trials do not fully delineate the safety
   profile of a drug that becomes evident once the drug is used in the general population (e.g.,
   Wysowski and Swartz, 2005; Lasser et al. 2002; Goldman, S.A. 1996; Ahmad, S.R. 2003;
   Ahmad et al. 2005). Recent examples of this phenomenon that have led to changes in the use of
   certain drugs would include cerivastatin (Baycol®) use and an increased risk of rhabdomyolysis,
   and refecoxib (Vioxx®) use and an increased risk of myocardial infarction.

          24.     The pharmacokinetics of Xarelto have been shown to be important to the
   toxicological profile of the drug (e.g., Gong and Kim, 2013; Prescrire editorial staff, 2013;
   Powell, J.R. 2015). The pharmacokinetics of Xarelto have been reviewed (Mueck et al. 2014;
   Xarelto labeling). To briefly describe its pharmacokinetics, Xarelto is administered orally and
   has a bioavailability of approximately 80%, although the bioavailability is significantly less
   depending on whether the drug is administered with food or a high fat diet. Bioavailability is the
   measure of the amount of drug that is absorbed into the bloodstream and is then available to
   produce the desired pharmacological effects. Xarelto is a substrate for the efflux transporters
   known as P-glycoprotein, or P-gp, and breast cancer resistance protein, or BCRP. Drugs that are
   substrates for such efflux transporter proteins are transported across biological membranes, in
   particular the gastrointestinal tract and the kidney, thus resulting in smaller amounts of the drug
   circulating in blood. Substances can interfere with this transport and affect the bioavailability of
   the drug, increasing the amount of drug taken up into blood. Once absorbed, Xarelto is
   metabolized in the liver through the activity of liver enzymes known as cytochrome P450
   enzymes, or CYP enzymes.         There are many different isoforms of CYP enzymes that are
   involved in drug metabolism. In the case of Xarelto, the principal metabolic enzyme is CYP3A4,
   with some involvement of CYP2J2. About one third of any Xarelto dose ingested is eliminated


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   unchanged through the kidneys. Another 20% to 30% of the drug is excreted through the feces.
   The elimination half-life of Xarelto from blood initially was determined in healthy volunteers
   aged 20 to 45 years of age (see Xarelto labeling) and is reported to be from 5 to 9 hours. It is
   well-established that drug elimination times increase with age and decreases in renal function.
   Thus, it should be assumed that the elimination half-life of Xarelto would increase in these
   populations. The important features of the Xarelto pharmacokinetic profile that relate to potential
   patient safety concerns, therefore, would include the effects of P-gp transport and food on its
   bioavailability, the dependence on metabolism by CYP isoforms, and fact that significant
   amounts of the drug are eliminated through the kidneys and through the feces. Each of these
   features can affect the amount of rivaroxaban present in blood that can then produce biological
   effects, both desired effects and undesired effects. Thus, it is important to describe and
   understand the patient safety concerns associated with the pharmacokinetic profile of Xarelto.


          25.     The level of renal excretion characteristic of Xarelto is high enough to raise a
   drug safety concern because the population of patients with atrial fibrillation that are treated with
   the drug is older, often above 70 years of age, and it is well documented that renal function
   declines significantly with age, even in otherwise healthy individuals (e.g., Bargman J.M. and K.
   Skorecki. 2015. In: Harrison’s Principles of Internal Medicine, 19th edition. Kasper et al. (eds.),
   McGraw-Hill: New York (online). Chapter 335; Dousdampanis et al. 2012). Thus, even healthy
   patients over 70 years of age are at risk of Xarelto toxicity due simply to the known association
   of age and reduced renal function. Decreases in renal function affect drug elimination,
   decreasing both the rate and extent of elimination. This in turn results in blood levels of the drug
   that persist at higher levels over time. In a pharmacokinetic study performed as part of Xarelto
   drug development, rivaroxaban exposure increased by approximately 44 to 64% in subjects with
   renal impairment (see Xarelto labeling). Additionally, reduced renal function that occurs after a
   patient has already been taking Xarelto under conditions of normal renal function will lead to
   differences in that patient’s rivaroxaban blood levels as compared to levels that may have been
   achieved when renal function was normal (i.e., intra-individual variability). The issue of intra-
   and inter-individual variability in rivaroxaban blood levels due to changes in renal function is,
   therefore, an important patient safety concern.




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            26.   Potential changes in Xarelto bioavailability is another patient safety concern
   because changes in drug absorption will affect the blood levels achieved with oral dosing. There
   are a variety of factors that can affect drug absorption. One important consideration is that
   absorption can be increased by the presence of drugs that inhibit the activity of the drug
   transporter protein P-gp (e.g., Fromm, M.F. 2000; Lin and Yamazaki, 2003; Rowland, M. and
   T.N. Tozer. 2011. Clinical Pharmacokinetics and Pharmacodynamics: Concepts and
   Applications, 4th edition. Wolters Kluwer: Philadelphia, Chapter 7). Xarelto, as well as a variety
   of other drugs, are transported by the ATP-dependent efflux pump known as P-gp (e.g., Fromm,
   M.F. 2000; see Xarelto labeling). P-gp is found in tissues with excretory function such as liver,
   kidney and intestine (Fromm, M.F. 2000; Lin and Yamazaki, 2003; Rowland, M. and T.N.
   Tozer. 2011. Clinical Pharmacokinetics and Pharmacodynamics: Concepts and Applications, 4th
   edition. Wolters Kluwer: Philadelphia. Chapter 7). The transporter can reduce drug absorption
   from the gastrointestinal tract, while enhancing drug elimination into bile and urine. As a result,
   if a drug taken concomitantly with Xarelto competes for transport with P-gp, the result could be
   an increase in the amount of rivaroxaban absorbed into blood, and also a decrease in the
   movement of rivaroxaban out of blood through the kidneys and liver. Also of concern with
   respect to bioavailability of Xarelto is the fact that the presence of food has a significant effect
   on drug absorption (see Xarelto labeling). Clinical studies performed as part of the Xarelto
   development process showed that intake of food significantly increased the bioavailability of a
   20 mg Xarelto dose; the maximal drug concentration in blood was increased by 75% with food
   intake as compared to taking the drug without food (see Xarelto labeling). Therefore, just as
   discussed above for changes in renal function, the bioavailability of Xarleto can affect the level
   of both intra- and inter-individual variability observed with Xarleto treatment (Lin and
   Yamazaki, 2003), and also would impact patient safety.


            27.   Another pharmacokinetic consideration for Xarelto that has implications for
   patient safety is its metabolism by CYP3A4. As has been reviewed by others, there are more than
   50 CYP enzymes, but six are responsible for the metabolism of 90% of drugs (Lynch and Price,
   2007).     The two CYP enzymes discussed most frequently in terms of pharmacokinetic
   interactions and drug safety concerns are CYP3A4 and CYP2D6. This is because there are
   genetic polymorphisms of these enzymes that exist in a significant percentage of the human



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   population, where the existence of the polymorphism results in decreased drug metabolism and
   prolonged exposure to the active drug. Additionally, CYP enzyme activity can be inhibited or
   induced by many drugs, resulting in clinically significant changes in drug response. As a result,
   the metabolism of Xarelto by CYP3A4 poses a safety concern given the narrow therapeutic
   index of the drug. Moreover, Xarelto’s labeling discusses the issue of CYP enzyme metabolism
   on the safety profile of the drug. The importance of CYP3A4 to Xarelto’s pharmacokinetics
   indicates that inter-individual variability would be expected in patient blood levels following
   dosing with the drug in real-world situations.


          28.     As a result of Xarelto’s pharmacokinetic profile, increased inter-patient variability
   in rivaroxaban blood levels in certain individuals would be expected, which could lead to an
   individual exhibiting either lower or higher blood levels for any given Xarelto dose. A higher
   level of variability among individuals given the same dose of a drug means that the likelihood of
   any given individual being at risk of ischemic events (due to under-exposure to Xarelto) or at
   risk of uncontrolled bleeding (due to over-exposure to Xarelto) is increased; therefore, patient
   health would be at risk.


          29.     In addition to warfarin and Xarelto, three other oral anticoagulant agents have
   been approved for marketing, i.e., dabigatran exilate (Pradaxa®), apixaban (Eliquis®), and
   edoxaban (Savaysa®). All three have been approved for use in treatment of non-valvular atrial
   fibrillation. The pharmacokinetics of each of these oral anti-coagulants, however, is significantly
   different from the pharmacokinetics of Xarelto. As discussed in a recent paper (Gong and Kim,
   2013), the pharmacokinetic differences of dabigatran and apixaban as compared to rivaroxaban
   (Xarelto) should be considered when physicians are deciding which oral anti-coagulant agent to
   choose for individual patients. As the authors conclude, “As the clinical use of NOACs increases,
   surveillance using therapeutic monitoring (measurement of plasma drug concentration or
   anticoagulant response) throughout the treatment period might be valuable in minimizing the
   risk of bleeding and lack of efficacy. Finally, because of the extent of interindividual variation in
   the metabolism and clearance of NOACs, it is likely that a greater range of NOAC doses will be
   needed to more precisely treat our patients.” (see page S31). Frost et al. (2014) also reported
   that rivaroxaban exhibits a higher level of inter-patient variability when compared to other



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   marketed oral anti-coagulants, and the clinical impact of these differences among the drugs.
   Clearly, the exposure-response relationship and the differences between individual patients are
   important to the safe and effective use of these drugs, including Xarelto.




   V.     Regulation of Human Prescription Drug Development and Marketing
          30.     As a human drug product, Xarelto manufacturing and marketing are regulated by
   the FDA (21 CFR Parts 200 through 499 in particular). It is the drug manufacturer that is
   responsible for ensuring that its product is both safe and effective for its labeled uses. The FDA
   does no testing itself. This means that FDA does not conduct or monitor clinical trials, and does
   not choose the investigators or the sites. Instead, the FDA relies on companies to conduct all
   testing, both preclinical and clinical, and to provide the results of testing that is accurate and
   reliable and shows that the drug has therapeutic activity and is also safe for use in humans. FDA
   makes its decisions about drug approval based on the information provided by the manufacturer
   in its NDA.


          31.     In the case of human drug products, FDA regulations pertain to the approval of
   new drug products, as well as the continued marketing of drugs once approved for human use.
   As already mentioned, the drug manufacturer is responsible for developing all of the data and
   analysis necessary to prove that the drug is both safe and effective. The data companies develop
   includes preclinical (non-human) data that examines the pharmacology of the active ingredient as
   well as the toxicology of the active ingredient and the formulated drug product. The toxicology
   studies companies sponsor or perform are animal studies that use common mammalian species
   such as rats, mice, and dogs. In some cases, studies may be performed using non-human
   primates, pigs, guinea pigs and rabbits. These preclinical studies form the basis of the submission
   to the FDA referred to as the Investigational New Drug (IND) application. Also submitted with
   the IND application is a proposed clinical testing plan. Once the FDA has reviewed and
   approved the IND application, clinical testing can begin. Clinical studies for any human
   prescription drug typically include three phases (i.e., Phase I, Phase II and Phase III). Phase I
   clinical studies are typically performed in healthy adults and are designed to investigate the
   pharmacokinetics of the drug product under development and to identify safe doses for human



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   testing. Phase II clinical studies are typically performed in patients and are the first studies of
   human efficacy, but also include measures of human safety. Phase III clinical studies are often
   referred to as “pivotal” clinical studies because they typically are the studies FDA bases its
   determination of whether the drug is safe and effective for use in humans for the indication that
   will be on the drug’s label. Phase III studies are large, usually thousands of patients, complex
   and expensive to perform. As a result, Phase III clinical studies are carefully designed in terms of
   the characteristics of the patients included (e.g., inclusion versus exclusion criteria are applied),
   the number of patients studied, and the endpoints used to determine both efficacy and safety.


          32.     Labeling for a human drug product is written by the manufacturer, not the FDA.
   The term labeling includes all advertising and promotional materials as well as the package insert
   and any patient information materials, including materials such as a Medication Guide which is
   intended to be distributed directly to patients. It is the duty of the manufacturer to include in the
   labeling of its products complete and accurate information about health risks, adequate
   instructions regarding use, and adequate warnings to ensure that patient health is protected (e.g.,
   21 CFR 201.57, 21 CFR 314.70, 21 CFR 314.80). The manufacturer has the responsibility for
   drafting the initial labeling for their product and for assuring that the labeling continues to reflect
   current knowledge concerning risks posed by the drug (see 21 CFR 314.80).


          33.     FDA regulations also govern the reporting of adverse events that occur both
   during clinical testing and once a drug is marketed (post-market surveillance). Thus, the
   manufacturer is required to collect, monitor and report to FDA all significant developments
   relating to a drug product, including adverse event reports received directly by the company
   (postmarket surveillance; 21 CFR 314.80). An issue that is not always appreciated with respect
   to postmarket surveillance of human drug products is the reporting rate. It is well understood that
   significant under-reporting of drug adverse events occurs (e.g., Scott et al. 1987; Ahmad, S.R.
   2003, 2005; Goldman, S.A. 1998; Hazell, L. and S. Shakir. 2006; Murphy, S. and R. Roberts.
   2006; Rodriguez, E.M. et al. 2001). In fact, it is estimated that only 1% to 10% of actual events
   experienced are reported (Ahmad, S.R. 2003; Goldman, S.A. 1998; Hazell, L. and S. Shakir.
   2006; Murphy, S. and R. Roberts. 2006; Rodriguez, E.M. et al. 2001). Thus, the number of case
   reports appearing in the medical literature, in a company postmarket surveillance database, or the



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   FDA database, is not an indicator of the likelihood of any particular adverse event occurring in
   medical practice.


          34.     The issue of postmarket surveillance is important to ensuring that a drug remains
   safe and effective after it is marketed. Given that clinical testing for any drug product submitted
   in an NDA is limited to a small population of patients, usually a few thousand, and that the
   population studied has been selected often to exclude certain types of patients, it is not surprising
   that a new type of toxicity, or an increase in the rate of a known toxic effect, would be seen once
   a drug is used in the general population. It is generally understood that serious adverse events
   may not be detected for many drugs until after the drug has been marketed, often for many years
   (Lasser et al. 2002), pointing to the importance of post-market surveillance in assuring patient
   safety. It also should be remembered that drug manufacturers who sell their products globally are
   required to submit adverse event reports that occur in the United States as well as in other
   countries around the world.


          35.     An important use of the postmarket surveillance and monitoring data collected by
   a company is ongoing safety assessment which enables a manufacturer to update the product
   labeling when either new types of toxicity are identified, or when the rate of occurrence of a
   particular type of toxicity is increasing from what was previously seen (21 CFR 314.70). All
   prescription drug products marketed in the United States are required to have a label (sometimes
   also referred to as a package insert) setting forth, among other things, the identity of the product,
   its manufacturer, and directions for use (see, e.g., 21 C.F.R. § 201.1 through 201.26). Also
   included in the label is information on the most serious health risks associated with use of a drug.
   Drug labeling is regulated in terms of what information must be included on the labeling as well
   as how that information is presented. An example of a regulation concerning the content of drug
   labeling is section 352(f) of title 21 of the United States Code. This provision requires that a
   drug’s labeling contain “adequate directions for use” (including a statement of all conditions,
   purposes, and uses for which the drug is intended) and “adequate warnings against use”. This
   latter provision becomes important when taking or administering the drug can be dangerous,
   posing a risk to human health. A label lacks adequate directions for use and adequate warnings
   against use when it fails to disclose harmful side effects of taking the drug. In the period before



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   drug approval by the FDA, premarket, the adequacy of a drug’s label is assessed as part of the
   normal drug approval process for a NDA or a Supplemental New Drug Application (SNDA); the
   proposed drug labeling is submitted by the manufacturer as part of the NDA or SNDA. Thus, a
   new drug approval process includes FDA’s approval of the drug’s proposed labeling. In the
   postmarketing period for human prescription drug products, the FDA enforces this part of the
   regulations when they become aware of information, through either the drug manufacturer or
   through other sources, showing that the risk profile of the drug has changed, or that the use
   patterns of the drug have changed.


          36.       In addition, section 352(a) requires that a drug’s labeling not be “false or
   misleading in any particular.” If a drug’s labeling does not satisfy this requirement, the drug is
   deemed misbranded under section 352 and may not be distributed in interstate commerce per
   section 331 of title 21 of the United States Code. Apart from the actual drug product label,
   advertising and promotional materials for prescription drug products are considered to be
   labeling for the product and are subject to similar standards. Specific provisions of the FDA
   statutes and regulations address the content of promotional or marketing materials for a drug,
   such as section 352(n) of title 21 of the United States Code and section 202.1 of title 21 of the
   Code of Federal Regulations. These provisions also include the fact that promotional materials
   cannot be false or misleading. In addition to the standard of not being “false and misleading”, the
   information used in promotional materials must have “fair balance” (see e.g., 21 CFR
   202.1(e)(6)).     Like the product label or product insert itself, advertising and promotional
   materials must be submitted to FDA for their review at the time of their initial dissemination or
   the time of initial publication (21 U.S.C. 314.81(b)(3)(i)). Because of its limited resources, the
   FDA does not pre-approve each and every promotional material or advertisement. Yet, if the
   FDA determines that information in a drug label, or a drug advertisement or promotional
   material, is false or misleading, FDA will notify the company and the company is required to
   change the language of the label or the material. The typical communication from the FDA to a
   company concerning such labeling violations is in the form of a Warning Letter (see discussion
   in              the          FDA             Regulatory             Procedures             Manual
   (www.fda.gov/ICECI/ComplianceManuals/RegulatoryProceduresManual/ucm176446.htm).




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           37.     Section 321(n) of title 21 of the United States Code provides that, when “an
   article is alleged to be misbranded because the labeling or advertising is misleading, then in
   determining whether the labeling or advertising is misleading there shall be taken into account
   (among other things) not only representation made or suggested by statement, word, design,
   device, or any combination thereof, but also the extent to which the labeling or advertising fails
   to reveal facts material in light of such representations or material with respect to consequences
   which may result from the use of the article to which the labeling or advertising relates under the
   conditions of use prescribed in the labeling or advertising thereof or under such conditions of use
   as are customary or usual.” Any violations of the FDA regulations again would result in the
   company being notified and required to change the language of the label or the advertisement.
   As discussed above, the typical communication from the FDA to a company concerning such
   violations is in the form of a Warning Letter (see discussion in the FDA Regulatory Procedures
   Manual
   (www.fda.gov/ICECI/ComplianceManuals/RegulatoryProceduresManual/ucm176446.htm).


           38.     The FDA human prescription drug regulations make clear that information
   regarding harmful side effects of the drug must be disclosed immediately. FDA allows a drug
   company to strengthen a warning for a drug without prior approval by the FDA (see 21 CFR 201
   and 202; Federal Register Volume 44, No. 124, June 26, 1979, Final Rule: Labeling and
   Prescription Drug Advertising: Content and Format for Human Prescription Drugs).                In
   particular, in the Final Rule, it is stated:


           The Commissioner also advises that these labeling regulations do not prohibit a
           manufacturer, packer, relabeler, or distributor from warning health care professionals
           whenever possibly harmful adverse effects associated with use of the drug are
           discovered. The addition to labeling and advertising of additional warnings, as well as
           contraindications, adverse reactions, and precautions regarding the drug, or the
           issuance of letters directed to health care professionals (e.g., “Dear Doctor” letters
           containing such information) is not prohibited by these regulations. As stated above, the
           act and FDA regulations require a warning in drug labeling as soon as a hazard is
           associated with the use of a drug. In the case of a drug subject to an approved NDA,



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          314.8(d) (21 CFR 314.8(d)) permits the addition to the drug’s labeling or advertising of
          information about a hazard without advance approval of the supplemental application by
          FDA.


   Therefore, drug manufacturers, such as Janssen, always have the ability under the current FDA
   regulations to update their labeling in order to strengthen warnings to physicians and patients. It
   also important to note that a “warning” on a prescription drug label is added when there is
   “reasonable evidence of an association,” and that “cause and effect need not have been proven”
   (see 21 CFR 201.57). As a result, when a manufacturer has identified a safety signal for their
   drug product, they have the responsibility to investigate that signal and to consider strengthening
   their labeling even if the evidence is still developing as it pertains to cause and effect.
          39.     In cases where the FDA determines that a warning needs to be strengthened in a
   drug label, the company is typically required to not only include a warning statement in the label
   of all product marketed but also to inform physicians about the change in the product label. A
   tool used by a company routinely is the “Dear Doctor” or “Dear Healthcare Provider” letter. The
   regulations provide specific mention of this form of physician communication (21 CFR § 200.5).
   These letters are defined as being a way for manufacturers to convey important new safety
   information to physicians, as well as a way to inform physicians about changes to drug labeling
   or to correct statements made in drug labeling or advertising. Like all drug information made
   available by the manufacturer to physicians, these letters are also considered to be in violation of
   FDA regulations if they are false and misleading (see Federal Food, Drug, and Cosmetic Act
   (FFDCA) § 502(a) and 201(n), now codified at 21 U.S.C. § 352, 321). Thus, statements made to
   physicians in these letters fall under the drug advertising provisions of the regulations and are
   reviewed by a FDA group formerly known as the Division of Drug Marketing, Advertising and
   Communications (DDMAC), and now known as the Office of Prescription Drug Promotion
   (OPDP).


          40.     With respect to patient safety information that is included in prescription drug
   labeling, the regulations provide specific direction as to where information is to be listed and the
   distinctions between the types of safety information that appear on a drug label (see 21 CFR §
   201.57) (2006)). There are major sections within a drug label that relate to patient safety and that



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   are required and described in 21 CFR § 201.57 (2006) sections (d) through (g). These sections
   are “Contraindications”, “Warnings”, “Precautions” and “Adverse Reactions.” The regulations
   state that the “Contraindications” section of the labeling “shall describe those situations in which
   the drug should not be used because the risk of use clearly outweighs any possible benefit” (21
   CFR 201.57(c)(3)(v)(d)). The situations normally encompassed by this section includes patients
   known to be hypersensitive, or use of the drug in a patient who, because of their particular age,
   sex, concomitant therapy, disease state, or other condition are at substantial risk of harm. Thus,
   “contraindications” is identifying individual patients that should not be prescribed the drug. The
   regulations state that the “Warnings” section of the label “shall describe serious adverse
   reactions and potential safety hazards, limitations in use imposed by them, and steps that should
   be taken if they occur.” (21 CFR 201.57(c)(3)(v)(e)). Thus, the purpose of this section is to
   provide physicians with the important information they need to order to make prescribing
   decisions about use of the drug by their patients. The next label section discussed in the
   regulations is the “Precautions” section. The regulations state that the “Precautions” section must
   contain a description of special care instructions to be exercised for safe and effective use of a
   given drug product. Typically, the “Precautions” section has information relating to, for example,
   laboratory tests, drug interactions, pregnancy information, and geriatric uses (21 CFR
   201.57(c)(3)(v)(f)). The “Adverse Reactions” section of the label is a laundry list of undesirable
   effects that have occurred in studies before marketing and/or in studies after marketing, where
   the listed reactions are ones reasonably associated with the use of the drug (21 CFR
   201.57(c)(3)(v)(g)).


          41.     Of importance in this case are provisions within 21 CFR 201.57 that requires
   manufacturers to “identify any laboratory tests helpful in following the patient’s response or in
   identifying possible adverse reactions. If appropriate, information must be provided on such
   factors as the range of normal and abnormal values expected in the particular situation and the
   recommended frequency with which tests should be performed before, during, and after
   therapy.” This means that such lab tests should be disclosed in the Warnings and Precautions
   section of the product label.




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          42.     A specific type of label warning that can be found on human drug product labels
   is a “black box” warning (21 CFR 201.57). A “black box” is referred to in the regulations as a
   “boxed warning” and is stated to be:


                  A concise summary of any boxed warning required by paragraph (c)(1) of this
          section, not to exceed a length of 20 lines. The summary must be preceded by a heading,
          in upper-case letters, containing the word "WARNING" and other words that are
          appropriate to identify the subject of the warning. The heading and the summary must be
          contained within a box and bolded. The following verbatim statement must be placed
          immediately following the heading of the boxed warning: "See full prescribing
          information for complete boxed warning.”


   A “black box” warning is the most serious type of warning that can be placed on a U.S. drug
   label and is boxed in order to draw the attention of a physician to the safety information
   discussed in the box.


          43.     Although it is generally assumed that oversight of drug development and
   marketing by FDA is adequate to assure that the public is protected from exposure to dangerous
   products, and that the benefits of a product continue to outweigh any risks of its use, evaluations
   of FDA capabilities has proven those assumptions to be incorrect. For example, in its 2003 report
   the Office of the Inspector General, Department of Health and Human Services, of which FDA is
   a part, concluded that the FDA review process for human prescription drugs faced significant
   challenges that undermined the effectiveness of the process, in particular in the areas of drug
   labeling review, postmarket surveillance, and in the dissemination of information to the public
   that form the basis for its decisions (OIG, 2003). The report also concluded that these problems
   with the NDA review process needed to be addressed in order to ensure that public health was
   protected (OIG, 2003). In 2007, a report by the Subcommittee on Science and Technology was
   published entitled “FDA Science and Mission At Risk” (Subcommittee on Science and
   Technology, 2007). In the report it was concluded that the FDA has serious deficiencies that
   could affect its ability to meet its regulatory responsibilities. Specifically, the report states that
   the scientific demands on the FDA far exceed the capacity to respond and this imbalance places



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   the FDA at risk in terms of the integrity of the regulatory system and the ability to protect public
   health. In a more recent report by the GAO (GAO, 2009), the agency also found that the FDA
   lacks resources to adequately protect public health, particularly in the area of monitoring
   postmarket safety. This report also found that there are weaknesses in FDA monitoring and
   enforcement that impede its ability to effectively oversee phase IV post-marketing studies (GAO,
   2009). Recent research specific to the impact of enactment of review deadlines under PDUFA
   (Prescription Drug User Fee Act 3) has suggested that for drugs approved since January 1993,
   approvals made in the last two months before a review deadline were more likely to be
   associated with subsequent safety problems than were approvals made at other times (Carpenter
   et al. 2008). Therefore, consistent with other reviews of FDA capabilities with respect to post-
   market safety surveillance, assessments of drug risk are not conducted systematically and have
   led to both withdrawals due to safety concerns that arise after marketing and imposition of black
   box warnings. In another review of the issue of drug safety (Frank et al. 2014), the authors
   concluded that safety signals are not being detected early enough to prevent millions of patients
   from being exposed to unsafe drugs. Thus, it is clear that the FDA has limitations on its ability to
   ensure protection of public health, limitations that are not always appreciated by the public,
   including physicians that prescribe drugs to their patients.


           44.     It is sometimes assumed that FDA participates actively in the conduct of clinical
   trials for human drug products. It is important to realize, however, that FDA does no clinical
   testing itself. Thus, the FDA, as well as physicians and their patients, must rely on drug
   manufacturers to properly design and conduct the clinical trials used by the FDA in their NDA
   approval decisions when determining whether a drug is safe and effective for its indicated use.
   Additionally, the FDA, as well as physicians and their patients, rely on drug manufacturers to
   provide full and adequate reporting and disclosure of all clinical data and analyses performed.


   VI.     Opinions
           45.     As a result of my review of a variety of scientific literature and various internal
   company documents, I have developed opinions relating to the efficacy and safety of Xarelto and

   3
     PDUFA was enacted in 1992 and renewed in 1997 (PDUFA II) and 2002 (PDUFA III). This law authorized FDA
   to collect fees from companies that produce human drug products. Since the passage of PDUFA, these user fees
   have been linked to decreased drug approval review times (speedier review).


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   its use in patients with atrial fibrillation. A key issue in this case is the safety profile of Xarelto
   and the risk of bleeding events in patients. The following is a discussion of those opinions. All
   opinions expressed in this report are based on my training and experience in pharmacology,
   toxicology, pharmacokinetics, and human health risk assessment, and also are based on a
   reasonable degree of scientific certainty.


          46.     A key issue for all of the oral anti-coagulant drugs, including Xarelto specifically,
   is the fact that they inherently have a low or narrow margin of safety, or a narrow therapeutic
   index (Powell, J.R. 2015; Chang et al. 2016; FDA Summary Review). This is not surprising
   given the fact that there is a delicate balance that exists for such drugs to prevent clot formation
   and to prevent excess bleeding; the toxicity observed (bleeding) is an exaggerated
   pharmacological effect, not an effect that occurs through a separate mechanism of action. The
   term “therapeutic index” is a measure of the difference in the dose of a drug that produces the
   desired or beneficial effects and the dose associated with an increased risk of toxicity. Therefore,
   during drug development, a key measure of drug safety in humans is identifying the dose of a
   drug that is commonly associated with a particular toxic effect, and comparing that dose with the
   dose necessary to produce a therapeutic effect in most people. Another term for “therapeutic
   index” is “margin of safety.” The “clinical therapeutic index” can also be calculated and is the
   ratio derived from clinical studies of the drug dose or blood concentration required to produce
   toxic effects, and the dose or concentration required to produce therapeutic effects (Oates, J.A.
   2006). It should be noted that if a drug produces multiple therapeutic effects, there may be
   multiple therapeutic indices, depending on the endpoint considered; this is because a different
   dose may be needed to produce one effect versus another. In that case, it may be that there is an
   acceptable therapeutic index for one endpoint of efficacy, but an unacceptable therapeutic index
   for another endpoint of efficacy. Another concept related to margin of safety for human drugs is
   the “lowest effective dose.” It is again a generally accepted principle of pharmacology and
   toxicology that, during drug development, the goal of clinical testing is to identify the lowest or
   minimum effective dose of the active ingredient. In pharmacology practice, administration of the
   lowest effective dose to patients will result in decreasing the risk of toxicity or adverse effects
   that result from drug treatment. In the case of Xarelto, only one dose of the drug was tested for
   efficacy in ROCKET, the pivotal clinical study used for determining the safety and efficacy of



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   rivaroxaban for use in patients with atrial fibrillation. Janssen failed to determine what the lowest
   effective dose was in their pivotal study, a practice that departed from generally accepted
   principles of drug development, pharmacology and toxicology. Therefore, there were limited
   data available for establishing the clinical therapeutic index for the drug in patients. Given that a
   significant portion of rivaroxaban patients in ROCKET experienced bleeding events (i.e., a rate
   of 3.6/100 patient years for major bleeding events and 14.9/100 patient years for both major and
   non-major bleeding events), the margin of safety for the drug was shown to be narrow.


          47.     It is important to realize as well that when Janssen selected the testing dose for
   their pivotal trial, ROCKET, in patients with atrial fibrillation, it was based on data that had been
   collected in a very different patient population, patients that had undergone knee and hip surgery
   and would be taking the drug for a much more protracted time period, and were not as sick and
   debilitated as the patient population tested in ROCKET. Yet, as discussed in the FDA Summary
   Review of the Xarelto NDA for use in patients with atrial fibrillation: “There was no rational
   basis for the applicant’s choice of the dose tested in ROCKET, 20 mg once a day. The
   pharmacokinetic/pharmacodynamic properties of rivaroxaban suggest the drug should be
   administered twice a day”. Instead of approaching the study and dose selection based on sound
   scientific principles, however, the company chose to test only one dose and to administer that
   dose once a day. Without testing more than one dose in this new population of patients, Janssen
   failed to collect critical data that would guide physicians in understanding what a lowest
   effective dose would be that is also associated with less risk of serious adverse events, such as
   stroke and major bleeding.


          48.     There is no universal definition of the term “narrow therapeutic index” (Blix et al.
   2010). FDA has attempted to define “narrow therapeutic index” within the realm of
   bioequivalence determinations for human drugs. During a presentation in 2011, FDA proposed a
   definition for “narrow therapeutic index drugs.” 4 FDA proposed that the definition of a narrow
   therapeutic index drug would be as follows: “Those drugs where small differences in dose or
   blood concentration may lead to serious therapeutic failures and/or adverse drug reactions.

   4

   http://www.fda.gov/downloads/AdvisoryCommittees/CommitteesMeetingMaterials/Drugs/AdvisoryCommitteeforP
   harmaceuticalScienceandClinicalPharmacology/UCM266777.pdf


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   Serious events are those which are persistent, irreversible, slowly reversible, or life-
   threatening.” FDA also pointed out that drugs with a narrow therapeutic index generally exhibit
   steep dose-response curves for both efficacy and safety, or that the doses that produce serious
   toxicity are close to those that produce efficacy. This definition would apply to Xarelto given the
   steep dose-response curve and the fact that serious toxicity, major bleeding, was observed at the
   same dose that was shown to be effective (see ROCKET data).


          49.     As discussed above, an important element when examining the safety and efficacy
   of Xarelto is the level of drug in the blood, or the level of rivaroxaban exposure. As already
   discussed in some detail above, the dose of Xarelto administered orally to patients can result in
   highly variable levels of rivaroxaban exposure, where exposure is the measure of the amount of
   the drug detected in blood. This is due to well-known characteristics of Xarelto (known before
   the drug was marketed) that include variable bioavailability associated with the effect of food,
   the effect of renal impairment on drug exposure, the importance of P-glycoprotein transport
   activity in modulating uptake and elimination of the drug into blood, the importance of CYP3A4
   metabolism to Xarelto elimination, either due to the presence of concomitant drugs or hepatic
   impairment, and the fact that Xarelto is dosed on a mg per day basis that does not consider the
   impact of a patient’s body weight (low versus high weight) and composition (lean mass versus
   fat mass). Thus, it is not possible to reliably predict rivaroxaban blood levels that will be
   achieved in any individual patient based solely on knowledge of the Xarelto dose administered.
   Supporting evidence is provided in the paper of Mueck et al. (2014; available online as of
   September 3, 2013). As discussed in that paper, following a 10 mg once daily dose of
   rivaroxaban in patients being treated for prevention of venous thromboembolism (VTE), trough
   blood levels varied by more than a factor of 30. In patients administered rivaroxaban (20 mg)
   once a day for prevention of deep vein thrombosis (DVT), trough blood levels varied by a factor
   of almost 15. In patients administered rivaroxaban for treatment of acute coronary syndrome, 2.5
   mg twice a day, trough blood levels of rivaroxaban differed by a factor of 6. In patients with
   atrial fibrillation and good kidney function, administered a once daily 20 mg dose of
   rivaroxaban, trough blood levels differed by a factor of more than 10, while in patients
   administered that same dose but with lower levels of kidney function, trough blood levels
   differed by more than a factor of 8 (Mueck et al. 2014).



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           50.      Yet, during development of Xarelto for prevention of stroke in patients with atrial
   fibrillation, Janssen performed only one pivotal Phase III study using only one dose of Xarelto
   that was administered once a day. Patients with creatinine clearance (CrCl) values greater than or
   equal to 50 mL/minute were given a single daily dose of 20 mg, while patients with CrCl
   between 30 and 49 mL/minute were given a single daily dose of 15 mg. The comparison group
   for the trial included patients administered warfarin that were titrated to a target INR range of 2.0
   to 3.0. 5 The primary endpoint measured in the study was time to a composite of stroke and
   systemic embolism. The study was known by the acronym “ROCKET AF” or simply
   “ROCKET”, and the study was entitled “Rivaroxaban Once Daily Oral Direct Factor Xa
   Inhibition Compared with Vitamin K Antagonism for Prevention of Stroke and Embolism Trial
   in Atrial Fibrillation.” A review of documents available at the FDA website shows that there
   were differences of opinion among FDA reviewers with respect to the safety and efficacy of
   Xarelto as demonstrated in the NDA submission (see Medical Reviews for NDA202439). A
   review of FDA statements clearly shows that there were significant concerns among FDA staff
   about the safety and effectiveness of Xarelto. In fact, in response to these concerns, FDA
   approved Xarelto for the SPAF indication in November 2011 only after the Deputy Division
   Director decided to override reviewer recommendations (see Summary Review of NDA
   202439). A key finding of FDA that is important to this litigation is the finding that the FDA was
   in agreement among all reviews that anti-coagulants are “intrinsically narrow therapeutic range
   drugs” (FDA Summary Review) and that the Xarelto NDA lacked adequate data to support
   selection of the dose, 20 mg once a day, that was then tested in the ROCKET trial. As FDA
   admits, however, FDA lacked the authority to stop drug development because of inadequate dose
   selection (see page 8 of NDA 202439 Summary Review). Therefore, it is clear that the ROCKET
   clinical trial was not a robust evaluation of the safety and efficacy of Xarelto.


           51.      When ROCKET was designed, the protocol dictated use of only one dose of
   rivaroxaban, 20 mg, given once a day. Additionally, the trial failed to incorporate a robust drug
   plasma level data collection process. This meant that the trial failed to gather sufficient data on


   5
     This range is indicating the value of the “International Normalized Ratio,” which is a standard measure of how
   long it takes blood to clot.


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   the dose-response relationship of Xarelto in patients with atrial fibrillation based on any clinical
   endpoint, while also failing to examine exposure-response relationships that could                  assist
   physicians in identifying a therapeutic blood level range for Xarelto, a range within which blood
   levels could be controlled to assure that both efficacy and safety were optimized for all patients.
   The importance of the missing data was discussed by FDA during a recent presentation in
   October 2015. 6 The FDA was discussing the issue of oral anti-coagulants, as a class, and how
   important it is to patient safety and efficacy to make sure that all patients are correctly dosed. As
   FDA stated: “getting the dose right is critical and often challenging.” The presenter pointed out
   that both Xarelto and Eliquis sponsors failed to study dose-response in their pivotal studies. Also
   discussed by the presenter was the fact that these drugs exhibit steep exposure-response
   relationships (a narrow therapeutic margin), that there are serious consequences of a dose being
   either too low or too high (no routine monitoring is currently performed), and that these drugs
   exhibit significant variability in blood levels due to things such as altered renal function, body
   weight, drug-drug interactions, and even unexplained intra-patient variability. Clearly, the issue
   of Xarelto’s individual variability in exposure to the drug is an important issue that physicians
   need to understand.


             52.     Also as already discussed, a significant level of inter-individual variability in
   Xarelto blood levels can impact patient safety. The pharmacokinetic profile of Xarelto would
   dictate that it is not possible to predict what any individual’s rivaroxaban blood level will be
   based on administration of a fixed dose of the drug. The lack of predictability is also apparent
   when available Xarelto pharmacokinetic data itself are examined. For example, in the Xarelto
   Clinical Pharmacology Review (NDA 202439; page 5), the elimination half-life of Xarelto is
   reported to double in elderly as compared to healthy young adults (6 to 8 hours in healthy adults
   and 11 to 13 hours in elderly subjects). Given that an important target population for Xarelto is
   elderly patients with atrial fibrillation, this is an important patient safety issue. Although the
   Xarelto label in 2011 lists the elimination half-life value for elderly patients, half-life of 11 to 13
   hours (see Section 12.3), nowhere does the label discuss the implications of this value on blood
   levels of rivaroxaban and the value of exposure assessment in order to assure that patients are
   receiving doses of the drug that are both safe and effective. In fact, in Section 8.5 of the 2011

   6
       see http://www.fda.gov/downloads/medicaldevices/newsevents/workshopsconferences/ucm473317.pdf


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   Xarelto label, Janssen instead stated that there was a favorable risk benefit profile for the elderly,
   without pointing out that the available rivaroxaban clinical data showed that there was good
   correlation between exposure and an increased risk of major bleeding. Therefore, the Xarelto
   label was inadequate due to the lack of information on the value of exposure-response
   assessment for at least some sensitive populations, such as the elderly, in order to reduce the risk
   of serious toxicity (major bleeding).


          53.     It is important to note that when FDA reviewed the Xarelto clinical data in 2011,
   they stated that Janssen chose not to use data they had in hand pointing to the utility of
   monitoring patients in order to adjust Xarelto dosing and to improve patient outcomes (see FDA
   Summary Review dated July 2011). These data, and the FDA analysis of these data, are
   described in more detail in the FDA Advisory Committee briefing materials (meeting of
   September 8, 2011), and in the Clinical Review document (Appendix 1 of the ROCKET-AF
   analysis by FDA). A review of those materials clearly shows that in the 161 subjects of the
   ROCKET-AF study which had blood samples drawn pre-dose and post-dose for PD/PK
   analyses, a plot of prothrombin time (PT) as a function of plasma rivaroxaban concentration
   results in a linear relationship between exposure and response. Prothrombin time increased
   linearly with rivaroxaban concentration (see Figure 3 of the FDA Appendix and Figure 4 of the
   Advisory Committee Briefing materials).         This finding was important because it provides
   objective evidence for the utility of measuring PT as a way to ensure patients are receiving doses
   of Xarelto that are both safe and effective. In the Advisory Committee Briefing materials, FDA
   summarized the issues surrounding measurement of PT as a surrogate for rivaroxaban blood
   levels by posing several questions. For the first question, “Can Prothrombin Time (PT) be used
   as a surrogate for PK?”, the FDA found that the pharmacokinetic data from 161 ROCKET
   patients confirmed the linear relationship between the plasma concentration of rivaroxaban, and
   the PT. Another question FDA asked related to PT as a marker of effect, “Is there a PT-bleeding
   relationship?”, the FDA found that PT data from 7,008 ROCKET patients demonstrated that the
   risk of major bleeds increased with PT, regardless of the definition of bleeding applied. The final
   conclusions reached by FDA and presented in the Briefing materials included the following: 1)
   PT can be used as a surrogate for PK in the range of plasma rivaroxaban concentrations
   demonstrated from this sample of patients in ROCKET; 2) the risk for major bleeding is



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   dependent on PT; and 3) twice a day dosing provides less PT fluctuation compared to once a day
   dosing in simulation modeling but the impact on efficacy and/or bleeding cannot be assessed due
   to lack of multiple dosing strategies in ROCKET. Therefore, Janssen should have been aware
   that measuring PT in patients administered Xarelto is a reliable method for identifying those
   patients at greatest risk of experiencing bleeding. By failing to provide physicians with the
   information on the utility of Xarelto exposure assessment for improving patient safety, Janssen
   put patient health at risk.

           54.     In 2014, Janssen published the results of their pharmacokinetic modeling from the
   ROCKET-AF trial (Girgis et al. 2014; available online as of March 26, 2014). As mentioned
   above, the pivotal clinical trial, ROCKET, did not adequately monitor exposure-response for
   rivaroxaban. Of the 14,246 patients included in the ROCKET study, only 161 patients
   contributed blood samples for analysis. The article by Girgis et al. (2014) provided for the first
   time a measure of inter-individual variability in pharmacokinetic parameters for Xarelto patients,
   reporting variability of between 30% to 40% depending on the patient subgroup considered
   (atrial fibrillation, deep vein thrombosis, acute coronary syndrome). The authors concluded that
   age, renal function and lean body mass influenced their pharmacokinetic modeling, and that
   prothrombin time and prothrombinase-induced clotting time (monitoring assays) were
   significantly correlated, exhibiting a “near-linear relationship.” These were significant findings
   because they demonstrate the important role that exposure-response assessment could play with
   Xarelto use.

           55.     What is not discussed by Girgis et al. (2014), however, is the actual blood level
   ranges observed in terms of peak and trough rivaroxaban blood levels; the paper instead reports
   results of modeling and estimates of blood levels based on that modeling. Yet, the actual blood
   level data were available to Janssen. When the actual ROCKET-AF study blood sample data are
   examined, it is seen that observed rivaroxaban blood concentrations seen at trough after a 20 mg
   dose     ranged     from      barely   detectable   to   well     over    600     μg/mL     (e.g.,
   XARELTO_BPAG_00006608). These data showed that even when patients took the same dose
   of Xarelto at the same time, their exposure to the drug varied widely. Yet, physicians were not
   provided with this information at the time the drug was approved and were not told of the benefit




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   of exposure-response assessment for ensuring that the drug was being used safely and
   effectively.

          56.     Just before the paper by Girgis and colleagues appeared in the published
   literature, Janssen published a review paper where a summary of available clinical
   pharmacokinetic data for Xarelto were presented (Mueck et al. 2014; available online as of
   September 3, 2013). Results of the company’s pharmacokinetic modeling were presented here as
   well; this paper also fails to report actual blood level data and correlations of the data with
   responses. As discussed above, however, the paper reported for the first time the median, 5th
   percentile, and 95th percentile estimates of rivaroxaban blood levels when Xarelto was
   administered to various patient populations. Following a 10 mg once daily dose of rivaroxaban
   in patients being treated for prevention of venous thromboembolism (VTE), trough blood levels
   varied by more than a factor of 30 (5th and 95th percentile range: 1 to 38 μg/L). In patients
   administered rivaroxaban (20 mg) once a day for prevention of deep vein thrombosis (DVT),
   trough blood levels varied by a factor of almost 15 (5th and 95th percentile range: 6 to 87 μg/L).
   In patients administered rivaroxaban for treatment of acute coronary syndrome, 2.5 mg twice a
   day, trough blood levels of rivaroxaban differed by a factor of 6 (5th and 95th percentile range: 6
   to 37 μg/L). In patients with atrial fibrillation and good kidney function, administered a once
   daily 20 mg dose of rivaroxaban, trough blood levels differed by a factor of more than 10 (5th
   and 95th percentile range: 12 to 137 μg/L), while in patients administered that same dose but with
   lower levels of kidney function, trough blood levels differed by more than a factor of 8 (5th and
   95th percentile range: 18 to 136 μg/L). In addition to the variability in trough blood levels, in
   atrial fibrillation patients with good kidney function given a 20 mg dose of Xarelto, peak blood
   levels varied by more than a factor of two (see Table 3). In these same patients, the variability in
   total daily drug exposure, as estimated by the value known as “AUC 24, ” also varied by a factor of
   three. Similar variability in peak blood levels and measures of total exposure (AUC 24 ) were
   reported for all patient populations listed in Table 3 of this paper. With this high level of Xarelto
   exposure variability observed in patients of all types, including those with atrial fibrillation, the
   value of exposure assessment is clearly demonstrated based on Janssen’s own analyses. It should
   be noted as well that a review of Janssen’s unpublished document dated December 15, 2010,
   which reports the pharmacokinetic data analysis performed by the company, also fails to provide
   details on the actual blood level data (see XARELTO_BPAG_00006581 through 6635).


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          57.     It is also important to note that peer-reviewed publications support both Janssen’s
   and FDA’s conclusions regarding the validity of both rivaroxaban blood level monitoring and
   exposure monitoring, using PT as a way to monitor patient’s exposure and assure patient safety
   (e.g., Samama et al. 2013; Fenger-Erikssen et al. 2014; Haas et al. 2014; Lippi et al. 2014;
   Nakano et al. 2015; Zhang et al. 2016). These studies provide further support for my opinion
   that Janssen should have been aware that measuring PT in patients administered Xarelto is a
   reliable method for identifying those patients at greatest risk of experiencing bleeding.

          58.     Related as well to the issue of the PT-rivaroxaban blood level relationship and the
   utility of PT as an exposure assessment tool that would improve patient safety is the fact that
   Janssen marketed Xarelto as having an advantage over other anti-coagulant drugs because no
   monitoring was required (XARELTO_BHCP_00015914 through 16190; Xarelto’s website
   https://www.xarelto-us.com/blood-thinner). Thus, Janssen marketed Xarelto as having an
   advantage of not requiring monitoring even though they were aware of the high level of inter-
   individual variability in Xarelto’s pharmacokinetics. As discussed in some detail above, a high
   level of inter-individual variability in a drug’s pharmacokinetics, and a narrow margin of safety,
   would dictate that exposure assessment would be an important patient safety tool.

          59.     Finally, with respect to the issue of inter-individual variability and the need for
   exposure assessment in Xarelto patients to ensure patient safety, a recent paper compares the
   therapeutic windows of various oral anti-coagulants head-to-head (Chang et al. 2016). The
   authors report that Xarelto’s therapeutic window is smaller than other oral anti-coagulant drugs
   such as Pradaxa and Eliquis. . The analysis by Chang et al. (2016) is based on comparison of the
   slopes of dose-response curves for various oral anti-coagulant drugs based on the value of a
   parameter known as the “Hill coefficient.” The Hill coefficient describes the slope of a dose-
   response curve for a drug based on its interaction with receptors or binding sites that lead to a
   response. Many drug-induced biological responses, when plotted, are sigmoidal in shape, a shape
   that can be approximated by means of the 4-parameter nonlinear logistic equation, also called the
   Hill equation (Gadagkar and Call, 2015). The Hill coefficient is part of that equation and
   describes the slope of the steepest part of the dose-response curve. Using the Hill coefficient as a
   measure of the therapeutic window for oral anti-coagulants is consistent with general principles
   of pharmacology and toxicology where the steeper the slope of the dose-response curve, the


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   smaller the difference is between a dose that produces a beneficial effect and a dose that is
   associated with toxicity. A smaller difference, or a steeper slope, means that the therapeutic
   window is smaller. As discussed by the authors, a drug with a shallow (less steep) dose-response
   curve will have less severe consequences for increases in dose as compared to drugs with steeper
   dose-response relationships. As stated by the authors:

          A major challenge with rivaroxaban and others of similar administrative routes and
          chemical composition (like dabigitran and apixiban, also evaluated in this paper) is
          keeping the maximum plasma concentration (C max ) below a level with a high bleeding
          risk, while keeping the minimum plasma concentration (C trough ) high enough to be
          effective. Our results provide new insight for predicting these outcomes. We have shown
          that there is an approximately three-fold variation in the Hill coefficient among the five
          anticoagulants tested. This implies that certain anticoagulants could have a significantly
          wider “sweet spot” for delivering a beneficial bleeding risk/antithrombotic benefit ratio.

      Based on the results of their analysis, Xarelto would have a smaller therapeutic window than
      some of the other available anti-coagulant drugs.

          60.     The ROCKET clinical data have been reviewed by FDA (as discussed above) and
   also published in the scientific literature (Patel et al. 2011). As required by FDA regulations, it
   was these data that formed the basis of the labeling that was drafted by Janssen and approved by
   FDA in 2011. The clinical data showed that Xarelto was non-inferior to warfarin in preventing
   ischemic events in patients with atrial fibrillation. However, the data failed to show that Xarelto
   was safer than warfarin (see FDA Advisory Committee Briefing materials; pages 194-195).
   There was no statistically significant decrease in major bleeding in Xarelto patients as compared
   to warfarin patients. In fact, there were signals for an increased risk of bleeding events with
   rivaroxaban treatment as compared to warfarin treatment, particularly in the United States (see
   FDA Advisory Committee Briefing materials; pages 194-195, 232-233). Therefore, at the time
   the drug was approved in 2011, there was no reliable scientific evidence to suggest that Xarelto
   was safer than warfarin in terms of the risk of major bleeding.




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          61.        Warfarin has been a standard anticoagulant used in patients with atrial fibrillation
   to reduce risk of clotting. Patients taking warfarin are monitored to ensure that the levels of the
   drug in blood are in a range that will prevent clotting but will not lead to serious bleeding.
   Additionally, there is an antidote agent, vitamin K, which can be used when patients experience
   bleeding events induced by warfarin therapy. In contrast to warfarin, Xarelto was marketed
   without providing physicians with any guidance concerning blood level monitoring (i.e.,
   exposure assessment), and, even more importantly, without providing physicians with an
   antidote agent that could be used in patients that experience bleeding events while on Xarelto
   therapy. As a result, as compared to warfarin, over-dosing with Xarelto poses a greater risk to
   patient health.


          62.        In order to protect patients from the increased risk of bleeding events, measuring
   Xarelto exposure at the initiation of therapy would be appropriate and protective of patient
   health. The available evidence clearly indicates that 1) assessment of exposure, both at the start
   of Xarelto therapy and at times after initiation of therapy, will identify those patients at increased
   risk of bleeding events; and 2) that some form of exposure assessment should be implemented
   for all patients. The available evidence also demonstrates that such exposure assessment would
   be of critical importance for patients with reduced renal function, elderly patients, patients of low
   body weight, and patients taking concomitant medication that might interfere with Xarelto’s
   absorption or metabolism.


          63.        The conduit used most commonly by drug manufacturers to provide physicians
   with important safety information is product labeling. As already discussed, the manufacturer of
   a human prescription drug is responsible for ensuring that their drug product is both safe and
   effective, and also is the one responsible for updating the safety information on their drug
   products over time. In the case of Xarelto’s product labeling, Janssen failed to adequately
   address the issue of increased exposure to rivaroxaban and the fact that exposure assessment
   provided a useful tool for reducing risks to patients taking the drug. The labeling also failed to
   describe the consequences of the high level of inter-individual variability that characterized
   Xarelto’s pharmacokinetics and blood levels achieved with the indicated dosing regimen.
   Examples of specific information that was not conveyed to physicians and their patients would



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   include: 1) the lack of information about the high level of inter-individual (inter-patient)
   variability in both pharmacokinetics and pharmacodynamics that are characteristic of Xarelto
   use; 2) the lack of information about the utility of the pharmacodynamics measurement tool, PT,
   to identify patients at risk of serious toxicity; and 3) the lack of information about the results of
   the Xarelto clinical data that demonstrated that there is a predictable exposure-response
   relationship between PT and major bleeding, which is an important safety issue for patients
   taking Xarelto. Failure to provide physicians with such information puts patient health at risk.


   VII.   Compensation
          64.     My compensation for litigation work, for both defense attorneys and plaintiff
   attorneys, is at the rate of $300.00 per hour for review of documents and materials related to the
   case and $400.00 per hour for testimony.




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                                    APPENDIX A
                                  Curriculum Vitae




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       $VVLVWDQW3URIHVVRU  8QLYHUVLW\RI$UNDQVDVIRU0HGLFDO6FLHQFHV'HSDUWPHQWRI
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        3OXQNHWW/05HJXODWRU\SULPHUIRUSKDUPDF\VWXGHQWVIRFXVRQKXPDQ
           WKHUDSHXWLFV,QYLWHGVSHDNHUIRUWKH$$369LVLWLQJ6FLHQWLVW3URJUDP7H[DV$ 0
           8QLYHUVLW\&ROOHJHRI3KDUPDF\.LQJVYLOOH7;0D\
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        3OXQNHWW/06WUDWHJLHVIRUUHGXFLQJDGYHUVHGUXJUHDFWLRQV6FLHQFHYHUVXV
           UHJXODWRU\FRQVLGHUDWLRQV,QYLWHGVSHDNHUIRUWKH$$369LVLWLQJ6FLHQWLVW3URJUDP
           7H[DV$ 08QLYHUVLW\&ROOHJHRI3KDUPDF\.LQJVYLOOH7;0D\
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        3OXQNHWW/0  1RYHOW\UHTXLUHPHQWRI/HFWXUHUDW'UH[HO8QLYHUVLW\6FKRRORI
           /DZ6HSWHPEHUDQG
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               &DPGHQ&DPSXV6HSWHPEHUDQG
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            3OXQNHWW/0  'LVFXVVLRQRIWKH$GHTXDF\RI&XUUHQW5HJXODWRU\5LVN$VVHVVPHQW
               $SSURDFKHVIRU3URWHFWLRQRI&KLOGUHQ¶V+HDOWKDQGWKH+HDOWKRI2WKHU³6HQVLWLYH´
               +XPDQ6XESRSXODWLRQV7HVWLPRQ\EHIRUHWKH866HQDWH(QYLRUQPHQWDQG3XEOLF
               :RUNV&RPPLWWHH$SULO
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            3OXQNHWW/0  6WUDWHJLHVIRUUHGXFLQJDGYHUVHGUXJUHDFWLRQV6FLHQFHYHUVXV
               UHJXODWRU\FRQVLGHUDWLRQV,QYLWHGVSHDNHUIRUWKH$$369LVLWLQJ6FLHQWLVW3URJUDP
               )ORULGD$ 08QLYHUVLW\7DOODKDVVHH)/2FWREHU
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            3OXQNHWW/0  7KHJXLGDQFHDVFXUUHQWO\LPSOHPHQWHGH[SHULHQFHZLWK0LQQHVRWD¶V
               GUDIWULVNOHYHOV3UHVHQWHGDWWKH,6573ZRUNVKRSHQWLWOHG(3$¶V1HZ 3URSRVHG 
               *XLGDQFHIRU$VVHVVLQJ&DQFHU5LVNVIURP(DUO\/LIH([SRVXUHV*HQRWR[LF0RGHRI
               $FWLRQDQG,PSOLFDWLRQVIRU+XPDQ+HDOWK%DVHG6WDQGDUGV  %DOWLPRUH0'
               )HEUXDU\
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            3OXQNHWW/0  $QRYHUYLHZRIWKHUHJXODWLRQRISURGXFWVRIELRWHFKQRORJ\:KR¶VLQ
               FKDUJH"  /HFWXUHUDW8QLYHUVLW\RI+RXVWRQDW&OHDUODNH1RYHPEHU
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           3OXQNHWW/0  0RGHUDWRURIWKHV\PSRVLXPHQWLWOHG³5HJXODWLRQRIJHQHWLFDOO\
               PRGLILHGFHOOVIRRGVRUJDQLVPVDQGDQLPDOVIRUFRQVXPHUDQGWKHUDSHXWLFXVH 
               0HHWLQJRIWKH$PHULFDQ$VVRFLDWLRQRI3KDUPDFHXWLFDO6FLHQFHV $$36 %DOWLPRUH
               0'1RYHPEHU
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           3OXQNHWW/0  $5RDGPDSWRWKH86)RRG$QG'UXJ$GPLQLVWUDWLRQ5HJXODWLRQV 
               ,QYLWHG6SHDNHUDQG6HVVLRQ&RFKDLU)HGHUDWLRQRI(XURSHDQ%LRFKHPLFDO6RFLHWLHV
                )(%6 ,VWDQEXO7XUNH\2FWREHU
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           3OXQNHWW/0  $QRYHUYLHZRIWKHUHJXODWLRQRISURGXFWVRIELRWHFKQRORJ\:KR¶VLQ
               FKDUJH"  /HFWXUHUDW8QLYHUVLW\RI+RXVWRQDW&OHDUODNH1RYHPEHU
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           3OXQNHWW/0  'LIIHUHQFHVDQG6LPLODULWLHV%HWZHHQ&KLOGUHQDQG$GXOWVLQWKHLU
               ([SRVXUHDQG5HVSRQVHWR(QYLURQPHQWDO&KHPLFDOV$Q8SGDWH6LQFH  ,QYLWHG
               6SHDNHUDW7R[)RUXP$VSHQ&2-XO\ 
           
           3OXQNHWW/0  'RFXUUHQW),)5$JXLGHOLQHWHVWVSURWHFWLQIDQWVDQGFKLOGUHQ"  /HDG
               DVDFDVHVWXG\  ,QYLWHGVSHDNHUDWWKH6L[WHHQWK,QWHUQDWLRQDO1HXURWR[LFRORJ\
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           &RQIHUHQFH3HVWLFLGHVDQG6XVFHSWLEOH3RSXODWLRQV:KRLVDW5LVNDQG:KHQ"  /LWWOH
           5RFN$UNDQVDV6HSWHPEHU
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       3OXQNHWW/0  $QRYHUYLHZRIELRWHFKQRORJ\UHJXODWLRQVWKH86)'$DQGWKH
           86(3$  /HFWXUHUDW8QLYHUVLW\RI+RXVWRQDW&OHDUODNH2FWREHU
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       5RGULFNV-96DQWDPDULD$%3OXQNHWW/0  5LVN$VVHVVPHQWDVD7RROLQ
           /LWLJDWLRQ$'LVFXVVLRQRIWKH8VHVDQG7KHLU/LPLWV>3UHVHQWHGE\3OXQNHWW/0@ 
           6RFLHW\IRU5LVN$QDO\VLV1HZ2UOHDQV/$'HFHPEHU
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       3OXQNHWW/0  &XUUHQW,VVXHVLQ/HDG([SRVXUHDQG5LVN$VVHVVPHQW  6\PSRVLDDW
           WKHDQQXDOPHHWLQJRI7KH$PHULFDQ&ROOHJHRI7R[LFRORJ\9DOOH\)RUJH3$
           1RYHPEHU
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           5HJXODWLRQV  /HFWXUHUDWWKH6RXWK7H[DV6FKRRORI/DZ2FWREHU
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           /HFWXUHUDWWKH6RXWK7H[DV6FKRRORI/DZ2FWREHU
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       3OXQNHWW/0  $'LVFXVVLRQRI7R[LFRNLQHWLFV  )HDWXUHGVSHDNHUDWDV\PSRVLXP
           DWWKH,QW&RQJUHVVRI7R[LFRO-XO\
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       3OXQNHWW/0  &KXWHVDQG/DGGHUV7KH+D]DUGRXV-RXUQH\IRU5 'WR0DUNHW 
           )HDWXUHGVSHDNHUDWWKH)XWXULVW V&RQIHUHQFH,UYLQH&$-XQH
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        3OXQNHWW/02¶'RQQHOO-7.HWRURODFDEXVHDQGLQMXU\LQFROOHJHDWKOHWLFV
           ,Q'UXJ,QMXU\>,QSUHVV@
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        3OXQNHWW/07LPPHUPDQ/(3KDUPDFRYLJLODQFHDQG3RVWPDUNHW
           6XUYHLOODQFHLQWKH8QLWHG6WDWHV  7KH5ROHRIWKH86)RRGDQG'UXJ
           $GPLQLVWUDWLRQ,Q(OHPHQWVRI3KDUPDFRYLJLODQFH%H9LJLODQW%H6DIH56HKJDOet
           al. (GV .RQJSRVK3XEOLFDWLRQV1HZ'HKOL
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        5RGULFNV-9)UDQNRV9+3OXQNHWW/0    )RRG$GGLWLYHV  ,Q 
           5HJXODWRU\7R[LFRORJ\  &3&KHQJHOLV-)+ROVRQDQG6&*DG HGV   5DYHQ
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        3OXQNHWW/07XUQEXOO'5RGULFNV-9    'LIIHUHQFHVEHWZHHQDGXOWVDQG
           FKLOGUHQDIIHFWLQJH[SRVXUHDVVHVVPHQW  ,Q  6LPLODULWLHVDQG'LIIHUHQFHV%HWZHHQ
           &KLOGUHQDQG$GXOWV  ,PSOLFDWLRQVIRU5LVN$VVHVVPHQW  36*X]HOLDQ&-+HQU\
           DQG662OLQ HGV ,/6,3UHVV:DVKLQJWRQ'&
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             4XDQWLWDWLYHDXWRUDGLRJUDSK\RIDQJLRWHQVLQDQGDWULDOQDWULXUHWLFIDFWRU
           ELQGLQJVLWHVLQEUDLQQXFOHLRIVSRQWDQHRXVO\K\SHUWHQVLYHUDWV  ,Q%UDLQ3HSWLGHVDQG
           &DWHFKRODPLQHVLQ&DUGLRYDVFXODU5HJXODWLRQLQ1RUPDODQG'LVHDVH6WDWHV
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           2UDOWHVWLPRQ\  )XOO&RPPLWWHHKHDULQJHQWLWOHG³2YHUVLJKWRQ(3$7R[LF&KHPLFDO
           3ROLFLHV´  7XHVGD\$SULO   
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           LQSRSXODWLRQVDWULVN  (19,5215HSRUW
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        3OXQNHWW/0)UDQNRV9+    )'$UHH[DPLQHVWKHVDIHW\RIVLOLFRQHJHOILOOHG
           EUHDVWLPSODQWV  (19,5215HSRUW




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                                    APPENDIX B
                               Deposition and Trial List




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                     List of Testimony for Dr. Laura M. Plunkett, Ph.D, DABT
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      <HDU                 &DVH1DPH                           /DZ)LUP5HSUHVHQWHG
                          Avandia MDL                                 +HDUG5RELQV
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                      Deposition – 4 Oct 2011                     6DQWD)H1HZ0H[LFR 
                       Sheets v. Alex Ford                         -RKDQVRQ )DLUOHVV
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                     Deposition – 20 Oct 2011                        6XJDU/DQG7; 
                     Risperdal New Jersey Cases                    %DLOH\3HUULQ%DLOH\
      
                    Trial Testimony – 3 Feb 2012                      +RXVWRQ7; 
                  Cathy General v. Durawood, et al           /XQG\/XQG\6RLOHDX 6RXWK
      
                     Deposition – 19 Mar 2012                      /DNH&KDUOHV/$ 
                     Risperdal Arkanas State case                  %DLOH\3HUULQ%DLOH\
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              Trial Testimony – 29 Mar & 30 Mar 2012                  +RXVWRQ7; 
                           Levy Metals                            5HEHQQDFN/DZ)LUP
      
                     Deposition – 01 May 2012                        0HWDLULH/$ 
                           Braden case                              6KHLOD0\HUV/DZ
      
                     Deposition – 09 May 2012                       1HZ2UOHDQV/$ 
                               DePuy                                  +HDUG5RELQV
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                      Deposition – 20 Jul 2012                        +RXVWRQ7; 
                        Rice v. Sloan et al.                      )OHPLQJ1ROHQ -H]
      
                     Deposition – 30 Oct 2012                         +RXVWRQ7; 
                          Strum v. DePuy                              +HDUG5RELQV
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                Deposition – 12 Nov & 13 Nov 2012                     +RXVWRQ7; 
                         Strum v. DePuy                               +HDUG5RELQV
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                     Deposition – 23 Jan 2013                         +RXVWRQ7; 
                    Dujardain v. Rodan & Fields                      )ROH\0DQVILHOG
      
                     Deposition – 31 Jan 2013                        /RV$QJHOHV&$ 
                    Accutane – Esterbrook case                        &RQQHOO\/DZ
      
                     Deposition – 19 Feb 2013                         7DFRPD:$ 
                          Gadolinium MDL                          $VKFUDIW *HUHO3&
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                   Trial Testimony – 07 Mar 2013                    :DVKLQJWRQ'& 

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   <HDU                    &DVH1DPH                          /DZ)LUP5HSUHVHQWHG
                           Strum v. DePuy                            +HDUG5RELQV
   
              Trial Testimony – 20 Mar & 21 Mar 2013                 +RXVWRQ7; 
                    Kidd et al. v. Motorola et al.          /XQG\/XQG\6RLOHDX 6RXWK
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                     Deposition – 10 Apr 2013                     /DNH&KDUOHV/$ 
                  Cathy General v. Durawood, et al          /XQG\/XQG\6RLOHDX 6RXWK
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                     Deposition – 16 May 2013                     /DNH&KDUOHV/$ 
             State of Montana & State of Utah v. Janssen
                                                             1L[3DWWHUVRQ 5RDFK//3
                        (Risperdal)
                                                                   'DLQJHUILHOG7; 
                     Deposition – 01 August 2013
                             FourLoko                      6LPRQ*UHHQVWRQH3DQDWLHU%DUWOHWW
   
                  Deposition – 24 September 2013                     'DOODV7; 
                           Gravitt case                         0LGDQL+LQNOH &ROH
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                  Deposition – 25 September 2013                    +RXVWRQ7; 
                    Rice v. Sloan Valve Company                  )OHPLQJ $VVRFLDWHV
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                Trial Testimony – 05 November 2013                   +RXVWRQ7; 
                           Vasquez case                              'R\OH5DL]QHU
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                 Court Hearing – 14 November 2013                    +RXVWRQ7; 
                       Cell Phone Litigation                /XQG\/XQG\6RLOHDX 6RXWK
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                 Court Hearing – 13 December 2013                 /DNH&KDUOHV/$ 
                          Accutane MDL                          0DWWKHZV $VVRFLDWHV
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                  Deposition – 16 December 2013                      +RXVWRQ7; 
                           Ferguson case
                                                           7KH/DZ2IILFHRI'DYLG0LWFKDP
               Trial Testimony/Attendance
                                                                    +RXVWRQ7; 
                   26 February – 03 March 2014
                            Shirley case                             :DUH-DFNVRQ
   
                     Deposition – 09 April 2014                      +RXVWRQ7; 
                       Crum et al v. Burney                     7KH.UXHJHU/DZ)LUP
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                     Deposition – 12 May 2014                       0H[LFR02 
             Lyles v. MacNeil, Johnson & Johnson, Inc.             $VKFUDIW *HUHO
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                      Deposition – 27 May 2014                     $OH[DQGULD9$ 


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                Mercaptan Litigation (CV-2013-235)         -3DWULFN&RXUWQH\,,,/DZ)LUP
   
                    Deposition – 16 Jun 2014                           0RELOH$/ 
                Mercaptan Litigation (CV-2013-235)         -3DWULFN&RXUWQH\,,,/DZ)LUP
   
                     Deposition – 16 Jul 2014                          0RELOH$/ 
                             Avandia                          7KH5RVHPRQG/DZ*URXS
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                     Deposition – 19 Aug 2014                       +RXVWRQ7; 
                        Crum et al v. Burney                     7KH.UXHJHU/DZ)LUP
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                 Trial Testimony – 23 October 2014                   0H[LFR02 
                             Liu case                               )DULVVH/DZ)LUP
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                  Deposition – 11 November 2014                     /RV$QJHOHV&$ 
                             Liu case                               )DULVVH/DZ)LUP
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                    Deposition 06 January 2015                      /RV$QJHOHV&$ 
                      Armstead v. USC, et al.                        'UH\HU%DELFK
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                   Deposition – 06 February 2015                    /RV$QJHOHV&$ 
             Broussard v. Multi-Chem Group LLC, et al               :\QQH :\QQH
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                   Deposition – 12 March 2015                        +RXVWRQ7; 
                         Simoneaux case                    )ULVFKKHUW]3RXOOLDUG)ULVFKKHUW]//&
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                    Deposition – 19 March 2015                      1HZ2UOHDQV/$ 
                     State of Texas v. Calloway               7KH6LOYHUPDQ/DZ*URXS
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                  Trial Testimony – 17 April 2015                    $XVWLQ7; 
           Wayland Ezeb v. Sandoz Pharmaceuticals, et al          7KH-DYLHU/DZ)LUP
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                   Deposition – 21 April 2015                      1HZ2UOHDQV/$ 
                       Tylenol – Hayes case                       $VKFUDIW*HUHO//3
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                     Deposition – 24 April 2015                     $OH[DQGULD9$ 
                       Good v. Pfizer, et al.               /DZ2IILFHVRI7RGG$0RRUH
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                     Deposition – 10 July 2015                    6DQ'LHJR&$ 
                Jensen v. Univ. of Washington, et al.         6ZDQVRQ *DUGQHU3//&
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                     Deposition – 20 July 2015                      6HDWWOH:$ 
                       Good v. Pfiezer, et al               /DZ2IILFHVRI7RGG$0RRUH
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                     Deposition – 10 Aug 2015                     6DQ'LHJR&$ 


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           Broussard, et al v. Multi-Chem Group LLC, et al          :\QQH :\QQH
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                   Trial Testimony – 14 Sep 2015                     +RXVWRQ7; 
                               Paxil                              %DLOH\3HDY\%DLOH\
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                              Liu case                              )DULVVH/DZ)LUP
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                        Tylenol – Hayes case                     $VKFUDIW *HUHO//3
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                   Trial Testimony – 30 Sep 2015                   $OH[DQGULD9$ 
                Tobin Horn v. Edward Liscombe, et al               3DWULFN.5RFFKLR
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                     Deposition – 10 Nov 2015                       1HZ%XIIDOR0, 
           Jacoby Moore & Shaquil Byrd v. Janssen, et al.        0DWWKHZV $VVRFLDWHV
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                    Deposition – 01 Dec 2015                          +RXVWRQ7; 
                       VICTORIA KLEIN and
                        ASHLEY SWADLEY,
                              Plaintiffs,
                                 VS
                     FEDERAL INSURANCE CO.,
               a/k/a CHUBB GROUP OF INSURANCE
                            COMPANIES;
                INTERNATIONAL INSURANCE CO.,
                                                             6HHOH\6DYLGJH(EHUW *RXUDVK
      a/k/a WESTCHESTER FIRE INSURANCE CO.,
                                                                      &OHYHODQG2+ 
                        n/k/a ACE, USA, Ltd,;
                             Defendants,
                                 VS.
                 CVS CAREMARK, as a Successor to
              CVS REVCO D.S., INC., as a Successor to
                          REVCO D,S.,INC.,
                         Third-Party Plaintiff
                      Deposition – 13 Jan 2016
                   Brownstein, et al v. Merck, et al            $DURQ/HYLQH/DZ)LUP
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                     Deposition – 28 Jan 2016                      :DVKLQJWRQ'& 


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                          Rader v. GSK (Paxil)                       %DLOH\3HDY\%DLOH\
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                        Deposition – 02 Mar 2016                        +RXVWRQ7; 
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                Expert Testimony – 22 Mar – 23 Mar 2016                 +RXVWRQ7; 
                     Tylenol Litigation (Taylor Case)               $VKFUDIW *HUHO//3
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                        Deposition - 19 Apr 2016                       $OH[DQGULD9$ 
                        Osteen v. Bayer (Aspirin)                %DODEDQ 6SLHOEHUJHU//3
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                        Deposition - 21 July 2016                       +RXVWRQ7; 
                      Freeman v. Roche (Accutane)                 .UXSQLFN&DPSEHOO0DORQH
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                       Deposition – 10 Aug 2016                      )RUW/DXGHUGDOH)/ 
                     Ehrenfelt v. Janssen (Risperdal)                 %HDVOH\$OOHQ3&
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                       Edwards v. Kuy Creek et al                  -RKDQVRQ )DLUOHVV//3
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                        Deposition – 08 Sep 2016                       6XJDU/DQG7; 
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                                    APPENDIX C
                                  Materials Reviewed




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   Clinical Pharmacology and Biopharmaceutics Review(s) 022406Orig1s000.pdf
   Cross Discipline Team Leader Review 022406Orig1s000.pdf
   Labeling 022406Orig1s000.pdf
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   Office Director Memo 022406Orig1s000.pdf
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   Other Action Letter(s) 022406Orig1s000.pdf
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   Pharmacology Review(s) 022406Orig1s000.pdf
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   Summary Review 022406Orig1s000.pdf
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   Administrative and Correspondence Documents 022406Orig1s000.pdf
   Approval Package for 022406Orig1s000.pdf
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   2013.8.7 Letter - Supp Approval 202439 S-008.pdf
   2011.11.4 NDA Approval Letter 202439.pdf
   Administrative and Correspondence Documents 202439Orig1s000.pdf
   Approval Package 202439Orig1s000.pdf
   Chemistry Review(s) 202439Orig1s000.pdf
   Clinical Pharmacology and Biopharmaceutics Review(s) 202439Orig1s000.pdf
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   Labeling 202439Orig1s000.pdf
   Medical Review(s) 202439Orig1s000.pdf
   Officer & Employee List 202439Orig1s000.pdf
   Other Review(s) 202439Orig1s000.pdf
   Pharmacology Review(s) 202439Orig1s000.pdf
   Proprietary Name Review(s) 202439Orig1s000.pdf
   REMS 202439Orig1s000.pdf
   Risk Assessment and Risk Mitigation Review(s) 202439Orig1s000.pdf
   Statistical Review(s) 202439Orig1s000.pdf
   Summary Review 202439Orig1s000.pdf
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   510k K021923.pdf
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   FINAL_INRatio_Patient_Self_Test_Customer_Letter-DEC_10_2014.pdf
   INR Monitor System (Professional and Prescription Home Use) - Falsely Low INR Test Results.pdf
   INRatio 510k K020679 2002.pdf
   K072727 (1).pdf
   K072727 (2).pdf
   K072727.pdf
   K092987 (1).pdf
   K092987.pdf
   K110212 (1).pdf
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   Pages from XARELTO_JANSSEN_00002054_PROTECTED INFORMATION-SUBJECT TO
   PRO....pdf
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   XARELTO_BHCP_01846602.pdf
   XARELTO_BHCP_01846607.pdf
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   XARELTO_BPAG_01489946.pdf
   XARELTO_JANSSEN_04961894.pdf
   XARELTO_JANSSEN_04961988.pdf
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   XARELTO_JANSSEN_04962036.pdf
   XARELTO_JANSSEN_04962060.pdf
   XARELTO_JANSSEN_04962075.pdf
   XARELTO_JANSSEN_04962095.pdf
   XARELTO_JANSSEN_04962147.pdf
   XARELTO_JANSSEN_04990320.pdf
   XARELTO_JANSSEN_07545460.pdf
   XARELTO_JANSSEN_07770820.pdf
   XARELTO_JANSSEN_07771510.pdf
   XARELTO_JANSSEN_07860125.pdf
   XARELTO_JANSSEN_07861657.pdf
   XARELTO_JANSSEN_07861688.pdf
   XARELTO_JANSSEN_08805696.pdf
   XARELTO_JANSSEN_01297589.pdf
   XARELTO_JANSSEN_01408507.pdf
   XARELTO_JANSSEN_03764144.pdf
   XARELTO_JANSSEN_03764147.pdf
   XARELTO_JANSSEN_03764151.pdf
   XARELTO_JANSSEN_03764158.pdf
   XARELTO_JANSSEN_03764169.pdf
   XARELTO_JANSSEN_03826985.pdf
   XARELTO_JANSSEN_03826995.pdf
   XARELTO_JANSSEN_03933615.pdf
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   XARELTO_JANSSEN_04925896.pdf
   XARELTO_JANSSEN_04925927.pdf
   XARELTO_JANSSEN_04930780.pdf
   XARELTO_JANSSEN_04931655.pdf
   XARELTO_JANSSEN_04931659.pdf
   XARELTO_JANSSEN_04931667.pdf
   XARELTO_JANSSEN_04931686.pdf
   XARELTO_JANSSEN_04932090.pdf
   XARELTO_JANSSEN_04932510.pdf
   XARELTO_JANSSEN_04932514.pdf
   XARELTO_JANSSEN_04932516.pdf
   XARELTO_JANSSEN_04932784.pdf
   XARELTO_JANSSEN_04932837.pdf
   XARELTO_JANSSEN_04932924.pdf
   XARELTO_JANSSEN_04932932.pdf
   XARELTO_JANSSEN_04933090.pdf
   XARELTO_JANSSEN_04935233.pdf
   XARELTO_JANSSEN_04961695.pdf
   XARELTO_JANSSEN_04961729.pdf
   XARELTO_JANSSEN_04961730.pdf
   XARELTO_JANSSEN_04961741.pdf
   XARELTO_JANSSEN_04961768.pdf
   XARELTO_JANSSEN_04961777.pdf
   XARELTO_JANSSEN_04961806.pdf
   XARELTO_JANSSEN_04961812.pdf
   XARELTO_JANSSEN_04961838.pdf
   XARELTO_JANSSEN_04961852.pdf
   XARELTO_JANSSEN_04961854.pdf

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   XARELTO_JANSSEN_04961891.pdf
   December 2014 label.pdf
   February 2014 label.pdf
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   76869 - XARELTO_BPAG_00006581.pdf
   202439Orig1s000SumR.pdf
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   643708; XARELTO_JANSSEN_03800316_HIGHLY PROTECTED INFORMATION-SUBJECT TO
   PROTECTIVE ORDER_pdf.pdf
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   Rocket AF nejmoa1009638.pdf
   Samama et al 2013.pdf
   Sarich 07.pdf
   WC500201726.pdf
   XARELTO_BHCP_00042766.pdf
   XARELTO_BHCP_00114847.pdf
   XARELTO_BHCP_00895282.pdf
   XARELTO_BHCP_00913395.pdf
   XARELTO_BHCP_01846602.pdf
   XARELTO_BHCP_01846607.pdf
   XARELTO_BHCP_01846679.pdf
   XARELTO_BHCP_02761522.pdf
   XARELTO_BPAG_01168273.pdf
   XARELTO_BPAG_01168277.pdf
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   XARELTO_BPAG_01489946.pdf
   XARELTO_BPAG_01567658.pdf
   XARELTO_BPAG_01567662.pdf
   XARELTO_BPAG_04369224.pdf
   XARELTO_JANSSEN_00722264.pdf
   XARELTO_JANSSEN_00801067.pdf
   XARELTO_JANSSEN_01297589.pdf
   XARELTO_JANSSEN_01408507.pdf
   XARELTO_JANSSEN_01408525.pdf
   XARELTO_JANSSEN_01418283.pdf
   XARELTO_JANSSEN_01420701.pdf
   XARELTO_JANSSEN_01461778.pdf
   XARELTO_JANSSEN_01471812.pdf
   XARELTO_JANSSEN_01471814.pdf
   XARELTO_JANSSEN_01471816.pdf
   XARELTO_JANSSEN_01536915.pdf
   XARELTO_JANSSEN_03764144.pdf
   XARELTO_JANSSEN_03764147.pdf
   XARELTO_JANSSEN_03764151.pdf
   XARELTO_JANSSEN_03764155.pdf
   XARELTO_JANSSEN_03764158.pdf
   XARELTO_JANSSEN_03764164.pdf
   XARELTO_JANSSEN_03764169.pdf
   XARELTO_JANSSEN_03764174.pdf
   XARELTO_JANSSEN_03821333.pdf
   XARELTO_JANSSEN_03826985.pdf
   XARELTO_JANSSEN_03826995.pdf
   XARELTO_JANSSEN_03826998.pdf
   XARELTO_JANSSEN_03827000.pdf
   XARELTO_JANSSEN_03827005.pdf
   XARELTO_JANSSEN_03827017.pdf
   XARELTO_JANSSEN_03933615.pdf
   XARELTO_JANSSEN_03933619.pdf
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   XARELTO_JANSSEN_03933638.pdf
   XARELTO_JANSSEN_03933640.pdf
   XARELTO_JANSSEN_03933641.pdf
   XARELTO_JANSSEN_03933644.pdf
   XARELTO_JANSSEN_03933647.pdf
   XARELTO_JANSSEN_03933648.pdf
   XARELTO_JANSSEN_03933650.pdf
   XARELTO_JANSSEN_04170900.pdf
   XARELTO_JANSSEN_04170901.pdf
   XARELTO_JANSSEN_04171364.pdf
   XARELTO_JANSSEN_04821463.pdf
   XARELTO_JANSSEN_04821471.pdf
   XARELTO_JANSSEN_04821515.pdf
   XARELTO_JANSSEN_04829607.pdf
   XARELTO_JANSSEN_04829669.pdf
   XARELTO_JANSSEN_04829672.pdf
   XARELTO_JANSSEN_04829674.pdf
   XARELTO_JANSSEN_04830012.pdf
   XARELTO_JANSSEN_04830127.pdf
   XARELTO_JANSSEN_04830131.pdf
   XARELTO_JANSSEN_04830153.pdf
   XARELTO_JANSSEN_04830293.pdf
   XARELTO_JANSSEN_04830497.pdf
   XARELTO_JANSSEN_04830498.pdf
   XARELTO_JANSSEN_04830505.pdf
   XARELTO_JANSSEN_04830507.pdf
   XARELTO_JANSSEN_04830508.pdf
   XARELTO_JANSSEN_04830515.pdf
   XARELTO_JANSSEN_04830517.pdf
   XARELTO_JANSSEN_04830519.pdf
   XARELTO_JANSSEN_04830525.pdf
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   XARELTO_JANSSEN_04837753.pdf
   XARELTO_JANSSEN_04839350.pdf
   XARELTO_JANSSEN_04839355.pdf
   XARELTO_JANSSEN_04839362.pdf
   XARELTO_JANSSEN_04839418.pdf
   XARELTO_JANSSEN_04843320.pdf
   XARELTO_JANSSEN_04925896.pdf
   XARELTO_JANSSEN_04925927.pdf
   XARELTO_JANSSEN_04930780.pdf
   XARELTO_JANSSEN_04931655.pdf
   XARELTO_JANSSEN_04931659.pdf
   XARELTO_JANSSEN_04931662.pdf
   XARELTO_JANSSEN_04931667.pdf
   XARELTO_JANSSEN_04931670.pdf
   XARELTO_JANSSEN_04931673.pdf
   XARELTO_JANSSEN_04931676.pdf
   XARELTO_JANSSEN_04931680.pdf
   XARELTO_JANSSEN_04931683.pdf
   XARELTO_JANSSEN_04931686.pdf
   XARELTO_JANSSEN_04931692.pdf
   XARELTO_JANSSEN_04931951.pdf
   XARELTO_JANSSEN_04931958.pdf
   XARELTO_JANSSEN_04932090.pdf
   XARELTO_JANSSEN_04932507.pdf
   XARELTO_JANSSEN_04932510.pdf
   XARELTO_JANSSEN_04932513.pdf
   XARELTO_JANSSEN_04932514.pdf
   XARELTO_JANSSEN_04932516.pdf
   XARELTO_JANSSEN_04932784.pdf
   XARELTO_JANSSEN_04932837.pdf
   XARELTO_JANSSEN_04932923.pdf
   XARELTO_JANSSEN_04932924.pdf
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   XARELTO_JANSSEN_04933008.pdf
   XARELTO_JANSSEN_04933089.pdf
   XARELTO_JANSSEN_04933090.pdf
   XARELTO_JANSSEN_04933095.pdf
   XARELTO_JANSSEN_04933096.pdf
   XARELTO_JANSSEN_04933101.pdf
   XARELTO_JANSSEN_04935233.pdf
   XARELTO_JANSSEN_04935238.pdf
   XARELTO_JANSSEN_04955571.pdf
   XARELTO_JANSSEN_04955574.pdf
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